                                      Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 1 of 47 Page ID #:174



                                                          1   CALLAHAN & BLAINE, APLC
                                                              David J. Darnell (SBN 210166)
                                                          2   ddarnell@callahan-law.com
                                                              Gaurav K. Reddy (SBN 259496)
                                                          3   greddy@callahan-law.com
                                                              3 Hutton Centre Drive, Ninth Floor
                                                          4   Santa Ana, California 92707
                                                              Telephone: (714) 241-4444
                                                          5   Facsimile: (714) 241-4445
                                                          6   Attorneys for Plaintiffs Ross Cornell and
                                                              Bryan Estrada
                                                          7

                                                          8                        UNITED STATES DISTRICT COURT
                                                          9
                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                         10

                                                         11   Ross Cornell, an individual, and Bryan      Case No. 5:22-cv-00789 JWH (SHKx)
                                                              Estrada, an individual;
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12                                               [Assigned to Hon. John W. Holcomb]
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707




                                                                                 Plaintiffs,
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13                                               FIRST AMENDED COMPLAINT
                                                                    v.                                    FOR DECLARATORY AND
                                                         14                                               INJUNCTIVE RELIEF
                                                              Office of the District Attorney, County
                                                         15   of Riverside, and Does 1-100,               For Violations of:
                                                              inclusive;                                  1. U.S. Const. Art. III, Sec. 2
                                                         16                                               2. U.S. Const. Art VI, Sec. 2
                                                                                 Defendants.              3. U.S. Const. Amend. I
                                                         17                                               4. 42 U.S.C. § 12203
                                                                                                          5. 28 C.F.R. § 36.206
                                                         18

                                                         19                                               Action Filed: May 9, 2022
                                                                                                          Trial Date: None set
                                                         20

                                                         21

                                                         22

                                                         23

                                                         24

                                                         25

                                                         26
                                                         27

                                                         28

                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                      Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 2 of 47 Page ID #:175



                                                          1   I.      NATURE OF THE ACTION

                                                          2           1.    This is an action against the Riverside County District Attorney’s

                                                          3   Office (the “RCDA”) for declaratory and injunctive relief regarding a criminal

                                                          4   prosecution brought against Plaintiffs that violates U.S. Const. Art. 1, § 2, U.S.

                                                          5   Const. Art 6, § 2, and U.S. Const. Amend. I, and that constitutes unlawful

                                                          6   retaliation, interference, coercion, intimidation and harassment in violation of the

                                                          7   Americans with Disabilities Act (42 U.S.C. § 12203 and 28 C.F.R. § 36.206) (the

                                                          8   “ADA”). As demonstrated below, the RCDA’s criminal prosecution has been

                                                          9   brought maliciously in bad faith with no chance of success on the merits and no

                                                         10   hope of a conviction.

                                                         11           2.    At the same time, the mere filing of this frivolous action has
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   impermissibly caused the chilling of legally protected civil rights advocacy and
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13   caused damage to Cornell, Estrada, and to ongoing ADA lawsuits. This action seeks

                                                         14   declaratory and injunctive relief as expressly authorized by the ADA on the grounds

                                                         15   that the criminal prosecution is wrongfully directed at litigation activities that are

                                                         16   privileged, protected, and in fact encouraged under ADA, the U.S. Constitution, and

                                                         17   established precedent. Accordingly, the RCDA’s prosecution is not only misguided,

                                                         18   but it also directly conflicts with these mandates, and is therefore barred and

                                                         19   preempted.

                                                         20   II.     PARTIES

                                                         21           3.    Plaintiff Ross Cornell (“Cornell”) is an attorney in good standing duly

                                                         22   licensed to practice law before all the Courts of the State of California, including the

                                                         23   Central District of California. Cornell is attorney of record for Plaintiff Bryan

                                                         24   Estrada in a number of civil lawsuits filed in the Central District of California to

                                                         25   remedy violations of the ADA at public accommodations and commercial facilities

                                                         26   in and around Riverside County. Cornell is the attorney of record on behalf of

                                                         27   Estrada and others in ADA barrier removal cases now pending in the Central

                                                         28   District.
                                                                                                 -1-
                                                                    FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                      Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 3 of 47 Page ID #:176



                                                          1          4.     Plaintiff Bryan Estrada (“Estrada”; together with Cornell, the

                                                          2   “Plaintiff”) is a resident of Homeland, California, and works as an employee of the

                                                          3   City of Riverside at offices located in the downtown Riverside area. He is

                                                          4   paraplegic and requires the use of a wheelchair for mobility purposes. He is also a

                                                          5   civil rights advocate and, by and through his legal representative Cornell, he has

                                                          6   filed disability discrimination lawsuits in federal court against owners and operators

                                                          7   of business locations in my community under the ADA for the purpose of removing

                                                          8   mobility access barriers. He is currently the plaintiff in a number of ongoing ADA

                                                          9   lawsuits filed in federal court with Cornell as his legal representative.

                                                         10          5.     Defendant Office of the District Attorney, County of Riverside is a

                                                         11   public entity that is responsible for the unlawful conduct and acts of retaliation,
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   intimidation, threats, coercion, harassment, and interference against Plaintiffs as
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13   alleged herein. Defendant Office of the District Attorney, County of Riverside is

                                                         14   referred to herein as the “RCDA.”

                                                         15          6.     Defendant Does 1 through 100, inclusive, are sued herein under

                                                         16   fictitious names. Their true names and capacities are unknown to Plaintiffs. When

                                                         17   their true names and capacities are ascertained, Plaintiffs will amend this complaint

                                                         18   by inserting their true names and capacities herein. Plaintiffs are informed and

                                                         19   believe and thereon allege that each of the fictitiously named Defendants are

                                                         20   responsible in some manner for the occurrences herein alleged, and that the

                                                         21   unlawful acts against Plaintiffs herein alleged were proximately caused by those

                                                         22   Defendants.

                                                         23   III.   JURISDICTION AND VENUE

                                                         24          7.     This Court has jurisdiction over the subject matter of this action

                                                         25   pursuant to 28 U.S.C. § 1331, 28 U.S.C. §§ 1343(a)(3), and 28 U.S.C. §§ 1343(a)(4)

                                                         26   for violations of the ADA and pursuant to Article III of the United States

                                                         27   Constitution for the Constitutional violations alleged herein.

                                                         28
                                                                                              -2-
                                                                 FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                      Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 4 of 47 Page ID #:177



                                                          1          8.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because

                                                          2   Defendants are located in this district, because Plaintiffs participated in the

                                                          3   investigation and filing of ADA lawsuits in this district, and because the causes of

                                                          4   action herein arose in this district.

                                                          5   IV.    SUMMARY OF THE CASE

                                                          6          9.     In an unprecedented chilling of protected civil rights advocacy and in

                                                          7   violation of the anti-retaliation and anti-interference provisions of the Americans

                                                          8   with Disabilities Act (42 U.S.C. § 12203; 28 C.F.R. 36.206), the RCDA has

                                                          9   criminally charged Plaintiffs for filing meritorious ADA lawsuits against owners

                                                         10   and operators of public accommodations in Riverside County who have violated the

                                                         11   ADA by failing to provide adequate accommodations for disabled individuals.
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12          10.    The criminal charges against Plaintiffs are based on the content of
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444




                                                              pleadings in ADA lawsuits Plaintiffs filed and in connection with Plaintiffs’
                           WWW. CAL LA HA N-LA W. CO M




                                                         13

                                                         14   encouragement, assistance, investigation, preparation, filing, resolving and

                                                         15   otherwise participating in these legitimate and Constitutionally-protected ADA

                                                         16   lawsuits (the “Protected Activities”). A true and correct copy of the felony

                                                         17   complaint against Plaintiffs is attached hereto as Exhibit A (the “Criminal

                                                         18   Complaint”).

                                                         19          11.    Pursuant to the Criminal Complaint, the RCDA orchestrated and

                                                         20   executed aggressive SWAT-style arrests against Plaintiffs despite the non-violent

                                                         21   nature of the charges, despite Cornell being an officer of the Court, despite Cornell

                                                         22   having no criminal record or prior history of arrest, despite Cornell having no record

                                                         23   of attorney discipline as a member in good standing of the State Bar of California,

                                                         24   and despite the nature of the Protected Activities.

                                                         25          12.    Within hours of the arrests, the RCDA published a libelous press

                                                         26   release disparaging Cornell in his professional reputation as an attorney. A true and

                                                         27   correct copy of the RCDA’s press release against Cornell is attached hereto as

                                                         28   Exhibit B (the “Press Release”). The Press Release and the RCDA’s conduct
                                                                                             -3-
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                      Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 5 of 47 Page ID #:178



                                                          1   provoked defamatory radio and print news stories disparaging Cornell that were

                                                          2   widely disseminated in the days following the arrests.

                                                          3         13.    Plaintiffs’ conduct in engaging in the Protected Activities is protected

                                                          4   under federal law. McAlindin v. County of San Diego, 192 F.3d 1226, 1238 (9th

                                                          5   Cir. 1999) (vigorously asserting rights under the ADA constitutes protected

                                                          6   activity); Hashimoto v. Dalton, 118 F.3d 671, 679-80 (9th Cir. 1997).

                                                          7         14.    The RCDA’s conduct constitutes unlawful retaliation against Plaintiffs

                                                          8   for having engaged in the Protected Activities.

                                                          9         15.    The RCDA’s conduct constitutes unlawful interference with ADA

                                                         10   lawsuits filed by Plaintiffs and currently pending in the federal courts of this District

                                                         11   (the “Current Cases”).
                                                                           The RCDA’s charges, arrest, Press Release, investigation, and
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12         16.
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13   prosecution constitutes unlawful harassment of Plaintiffs for engaging in the

                                                         14   Protected Activities.

                                                         15         17.    The RCDA’s conduct constitutes unlawful intimidation of Plaintiffs in

                                                         16   connection with the Protected Activities.

                                                         17         18.    The Criminal Complaint and the RCDA’s conduct constitute unlawful

                                                         18   threats of prosecution and of felony convictions against Plaintiffs for engaging in

                                                         19   the Protected Activities.

                                                         20         19.    The RCDA’s conduct is intended to coerce Plaintiffs to abandon and/or

                                                         21   to abstain from the Protected Activities. This intended chilling effect lies at the

                                                         22   heart of and is the core intention of the RCDA’s prosecution. The RCDA’s conduct

                                                         23   directly conflicts with federal law and clear statements of Congressional purpose

                                                         24   regarding: (1) protections against prosecution for parties and their attorneys

                                                         25   regarding the content of federal pleadings in general, (2) the threatened abridgment

                                                         26   of protected activities under the ADA, (3) unlawful retaliation and interference by

                                                         27   public entities regarding the exercise of rights guaranteed by the ADA, (4) the

                                                         28   federal government’s exclusive jurisdiction over its own processes, (5) the federal
                                                                                             -4-
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                      Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 6 of 47 Page ID #:179



                                                          1   preemption doctrine that prohibits state laws from conflicting with federal law, and

                                                          2   (6) First Amendment freedoms of speech and to petition for redress of grievances.

                                                          3   V.     FACTUAL BACKGROUND

                                                          4          A.    Plaintiffs’ ADA Lawsuits

                                                          5          20.   Estrada is a paraplegic civil rights advocate who, by and through his

                                                          6   legal representative Cornell, has filed disability discrimination lawsuits against

                                                          7   owners and operators of public accommodations and commercial facilities in the

                                                          8   Central District of California pursuant to Title III of the ADA.

                                                          9          21.   Estrada resides in Homeland, California and works as an employee of

                                                         10   the City of Riverside at offices located in the downtown Riverside area.

                                                         11          22.   Estrada travels by car outfitted with hand controls regularly in, around,
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   and throughout Riverside County in his daily life and as part of his normal routines.
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444




                                                                           The ADA’s purpose is the creation of a “national mandate for the
                           WWW. CAL LA HA N-LA W. CO M




                                                         13          23.

                                                         14   elimination of discrimination against individuals with disabilities … to ensure that

                                                         15   the Federal Government plays a central role in enforcing the standards established in

                                                         16   this chapter on behalf of individuals with disabilities … [and] to invoke the sweep of

                                                         17   congressional authority, including the power to enforce the fourteenth amendment

                                                         18   and to regulate commerce, in order to address the major areas of discrimination

                                                         19   faced day-to-day by people with disabilities.” 42 U.S.C. § 12101.

                                                         20          B.    The Necessity of Private Enforcement of the ADA

                                                         21          24.   The ADA constitutes a broad, sweeping statutory framework intended

                                                         22   to, among other things, provide equal access for all people. To further that far-

                                                         23
                                                              reaching remedial goal, Title III of the ADA provides:

                                                         24
                                                                           [n]o individual shall be discriminated against on the basis of
                                                                           disability in the full and equal enjoyment of the goods, services,
                                                         25                facilities, privileges, advantages, or accommodations of a place
                                                         26
                                                                           of public accommodation by any person who owns, leases (or
                                                                           leases to), or operates a place of public accommodation. 42
                                                         27                U.S.C. § 12182(a).
                                                         28
                                                                                                -5-
                                                                   FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                      Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 7 of 47 Page ID #:180



                                                          1          25.   In order to effectuate this purpose, the ADA authorizes private

                                                          2   enforcement actions by disabled plaintiffs pursuant to 42 U.S.C. § 12188, which

                                                          3   permits the federal courts to issue injunctive relief orders requiring defendants to

                                                          4   alter facilities to make them readily accessible to and usable by individuals with

                                                          5   disabilities. Eliminating discrimination against individuals with disabilities under

                                                          6   the ADA largely relies on private enforcement. Private plaintiffs play a critical role

                                                          7   in enforcing the ADA, particularly in the area of public accommodations, which

                                                          8   includes a large number of entities. See 42 U.S.C. § 12188(a)(l).

                                                          9          26.   Even the United States government acknowledges that its limited

                                                         10   resources do not allow it to “investigate every place of public accommodation in the

                                                         11   country to determine if it is in compliance with the ADA.” Brief for the United
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   States as Amicus Curaie, p. 2, Chapman v. Pier I Imports, 631 F.3d 939 (2010)
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444




                                                              (“Chapman Amicus”); see also Samuel R. Bagenstos, The Perversity of Limited
                           WWW. CAL LA HA N-LA W. CO M




                                                         13

                                                         14   Civil Rights Remedies: The Case of ''Abusive" ADA Litigation, 54 UCLA L. Rev.

                                                         15   1, 4 (2006) (“Indeed, the U.S. Department of Justice has devoted only a small cadre

                                                         16   of lawyers to disability rights enforcement ....”) (internal quotations and citations

                                                         17   omitted). Effective enforcement of Title III, therefore, requires “a combination of

                                                         18   suits by the United States and litigation by individuals with disabilities who are

                                                         19   aware of and encounter violations in their local communities.” Chapman Amicus, at

                                                         20   2.

                                                         21          27.   However, even though the ADA authorizes private lawsuits, its

                                                         22   “provision for injunctive relief only removes the incentive for most disabled persons

                                                         23   who are injured by inaccessible places of public accommodation to bring suit.”

                                                         24   D'Lil v. Best W. Encino Lodge & Suits, 538 F.3d 1031, 1040 (9th Cir. 2008)

                                                         25   (internal quotations omitted). As a result, “most ADA suits are brought by a small

                                                         26   number of private plaintiffs who view themselves as champions of the disabled ....”

                                                         27   Id.

                                                         28
                                                                                                -6-
                                                                   FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                      Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 8 of 47 Page ID #:181



                                                          1         28.    While such plaintiffs have sometimes been disparaged –including by

                                                          2   the RCDA here – they are in fact a necessary component of ADA enforcement. As

                                                          3   courts in California have stated, “[f]or the ADA to yield its promise of equal access

                                                          4   for the disabled, it may indeed be necessary and desirable for committed individuals

                                                          5   to bring serial litigation advancing the time when public accommodations will be

                                                          6   compliant with the ADA.” Id. (citing Molski v. Evergreen Dynasty Corp., 500 F.3d

                                                          7   1047, 1062 (9th Cir. 2007)).

                                                          8         29.    Commentators have noted that the activities of a relatively small

                                                          9   number of high-volume litigants is the result of the “highly complex, detailed, and

                                                         10   contextual” nature of the ADA’s rules, and the need for lawyers to specialize in

                                                         11   order to viably prosecute such cases. Bagenstos, at 13. Yet, even in light of the
                                                              advocacy of so-called serial or high-volume litigants, “a strong consensus is
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444




                                                              emerging among experts that the ADA’s public accommodations title is
                           WWW. CAL LA HA N-LA W. CO M




                                                         13

                                                         14   underenforced.” Bagenstos, at 4 (“The ADA’s public accommodations title is

                                                         15   massively underenforced …”).

                                                         16         30.    On information and belief, the ADA is massively under-enforced in

                                                         17   Riverside County, in part due to the RCDA’s misguided views on the statute as

                                                         18   demonstrated herein and the resulting chilling effect that the RCDA’s prosecutorial

                                                         19   actions against ADA plaintiffs have (and will continue to have) on protected

                                                         20   enforcement activities under the ADA. Some of the rampant discrimination against

                                                         21   persons with mobility disabilities in Riverside County is also likely the result of

                                                         22   “benign neglect, apathy and indifference” on the part of the owners and operators of

                                                         23   public accommodations and commercial facilities. The ADA recognizes that such

                                                         24   apathy and indifference is a form of unlawful discrimination. Parr v. L & L Drive-

                                                         25   Inn Restaurant, 96 F. Supp. 2d 1065 (D. Hawaii 2000). Whatever the cause, many

                                                         26   Riverside County businesses are slow to comply with the ADA’s requirements

                                                         27   regarding removal of barriers effecting people with mobility disabilities, the

                                                         28   removal of which is easily accomplishable without undue burden or expense.
                                                                                             -7-
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                      Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 9 of 47 Page ID #:182



                                                          1         31.    Since 2019, Plaintiffs have brought dozens of ADA lawsuits that

                                                          2   resulted in specific remedial changes and disability access improvements being

                                                          3   made in compliance with the ADA at locations throughout Riverside County and

                                                          4   elsewhere to the benefit of Estrada, the disabled community, and the general public,

                                                          5   all of which is consistent with the purpose of the private enforcement provisions of

                                                          6   the ADA. Plaintiffs also presently have Current Cases pending in this District that

                                                          7   seek additional remedial changes and improvements as authorized by the ADA.

                                                          8         32.    Moreover, because of the Prosecution and related actions by the

                                                          9   RCDA, efforts to identify and remedy ADA violations through private enforcement

                                                         10   actions brought by Cornell’s clients, including Estrada, have been and will continue

                                                         11   to be thwarted. Since Plaintiffs’ arrest through today’s date, they have not filed any
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   new ADA lawsuits.
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13         33.    Plaintiffs have investigated and prepared more than two dozen potential

                                                         14   ADA cases on behalf of Estrada. These cases are ripe and have been vetted through

                                                         15   a third party investigator, who has verified the ADA violations. While Estrada is

                                                         16   ready to file these lawsuits, Plaintiffs are being forced to withhold these cases from

                                                         17   filing because of our fear of further reprisal by the RCDA. Accordingly, the

                                                         18   Prosecution and the associated actions by the RCDA are creating a situation in

                                                         19   which known ADA violations are being allowed to continue all over Riverside

                                                         20   County.

                                                         21         C.     The County’s Bad Faith Prosecution

                                                         22         34.    Since at least April 2019, the RCDA has evidenced a pattern of

                                                         23   bringing meritless legal actions against mobility disabled plaintiffs and their legal

                                                         24   representatives in what amounts to a campaign of intimidation, coercion, threats,

                                                         25   interference, and retaliation for filing ADA enforcement actions against ADA

                                                         26   plaintiffs and their counsel in Riverside County.

                                                         27         35.    An example of one such meritless legal action by the RCDA was set

                                                         28   forth in Riverside County Case Number RIC1902577, which was brought under the
                                                                                             -8-
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 10 of 47 Page ID #:183



                                                          1   guise of “ADA abuse” and which alleged that mobility disabled plaintiffs and their

                                                          2   lawyers targeted small businesses in Riverside County with lawsuits that amounted

                                                          3   to extortion (the “Rutherford Action”).

                                                          4         36.    In the Rutherford Action, the RCDA alleged that two litigants, two law

                                                          5   firms, and four attorneys engaged in an unlawful business practice in violation of the

                                                          6   unfair competition law (the UCL) (Bus. & Prof. Code, § 17200, et. seq.), by filing

                                                          7   and pursuing approximately 120 “fraudulent ADA lawsuits,” “falsely accusing”

                                                          8   Riverside County businesses and individuals of violating the ADA in order to

                                                          9   “extort monetary settlements” from the defendants in the ADA lawsuits.

                                                         10         37.    The Rutherford Action was dismissed by the Superior Court with

                                                         11   prejudice, a decision that was upheld by the Fourth Appellate District Court on
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   December 23, 2020. A true and correct copy of the Rutherford appellate opinion is
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13   attached hereto as Exhibit C.

                                                         14         38.    On March 8, 2022, undaunted by the state courts’ determination that

                                                         15   the Rutherford Action could not proceed under the UCL, and in furtherance of its

                                                         16   objective of continuing chilling of disability rights advocacy, the RCDA filed the

                                                         17   Criminal Complaint against Plaintiffs.

                                                         18         39.    Despite the fact that all of Plaintiffs’ ADA lawsuits were filed

                                                         19   exclusively in federal court, the Criminal Complaint pays no heed to federal law that

                                                         20   protects Plaintiffs from criminal prosecution in connection with federal pleadings.

                                                         21   Forcing Plaintiffs to incur the burden and expense of defending the criminal

                                                         22   prosecution in state court in disregard of federal protections is contrary to the plain

                                                         23   language of the ADA and the will of Congress. 42 U.S.C. § 12203; 28 C.F.R. §

                                                         24   36.206; 18 U.S.C. § 1001(b).

                                                         25         40.    The RCDA’s conduct and the Criminal Complaint violate Plaintiffs’

                                                         26   Constitutional rights of free speech and petition, conflict with federal law that

                                                         27   protects filing ADA lawsuits and investigative conduct related thereto, undermine

                                                         28   clearly stated Congressional intent regarding matters exclusively within federal
                                                                                             -9-
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 11 of 47 Page ID #:184



                                                          1   jurisdiction, and ignore federal law intended to protect parties and their attorneys

                                                          2   from prosecution arising from the content of federal pleadings.

                                                          3         D.     The Unreasonably Aggressive Arrests

                                                          4         41.    At or about 7:00 a.m. on March 10, 2022, at the direction of and/or

                                                          5   with the participation of the RCDA, Plaintiffs were arrested at their respective

                                                          6   homes by teams of law enforcement personnel.

                                                          7         42.    Law enforcement officers entered Estrada's home with guns drawn and

                                                          8   riot shields up. Estrada was removed from his morning shower, arrested, and made

                                                          9   to wait naked outside while his home was ransacked by law enforcement.

                                                         10         43.    Estrada’s mobile phone and computer were seized, his domestic partner

                                                         11   was detained and harassed, and he was interrogated for hours by law enforcement
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   without an attorney present.
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444




                                                                           The following image shows law enforcement’s siege on Estrada’s home
                           WWW. CAL LA HA N-LA W. CO M




                                                         13         44.

                                                         14   as captured by Estrada’s home security camera at the time of his arrest:

                                                         15

                                                         16

                                                         17

                                                         18

                                                         19
                                                         20

                                                         21

                                                         22

                                                         23

                                                         24

                                                         25

                                                         26
                                                         27

                                                         28
                                                                                             - 10 -
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 12 of 47 Page ID #:185



                                                          1          45.    Cornell was simultaneously awoken at home by a team of gun-wielding

                                                          2   tactical law enforcement personnel banging on the door of his home and shouting

                                                          3   into a loudspeaker outside in his residential neighborhood.

                                                          4          46.    Cornell was arrested and taken into custody while his home was

                                                          5   searched by law enforcement. Cornell was never contacted by the RCDA prior to

                                                          6   the arrest.

                                                          7          47.    Cornell was transported fifty miles in handcuffs, was booked at the

                                                          8   criminal jail in downtown Riverside (where he was forced to strip naked), was blood

                                                          9   and DNA tested, and was shuffled between holding cells with other criminal

                                                         10   arrestees for hours until bonding out of custody.

                                                         11          48.    Despite the non-violent nature of the charges set forth in the Criminal
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   Complaint, despite Cornell having no criminal record, no record of attorney
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13   discipline, and no prior history of arrest, and despite Cornell being an officer of the

                                                         14   Court and a member in good standing of the State Bar of California, the RCDA did

                                                         15   not contact Cornell to notify him of the charges or request that he or Estrada

                                                         16   volunteer themselves for arrest.

                                                         17          49.    The RCDA orchestrated and executed their simultaneous aggressive

                                                         18   arrests to intentionally prevent Estrada from obtaining the benefit of consultation

                                                         19   with his attorney during his interrogation by police. Why the RCDA believed that

                                                         20   heavily armed SWAT-style arrests were necessary or appropriate against civil rights

                                                         21   attorneys and their disabled clients for charges related to alleged misrepresentations

                                                         22   in court pleadings remains to be determined, but is suggestive of animus and malice.

                                                         23          E.     The Libelous Press Release

                                                         24          50.    Within hours of the arrest, the RCDA published a false and defamatory

                                                         25   press release on its website broadcasting the arrest and allegations of widespread

                                                         26   and sweeping "fraud and deceit" against Cornell, knowing full well that Cornell has

                                                         27   ADA lawsuits on file in the Central District of California. This press release was

                                                         28   issued for the sole purpose of besmirching Cornell, interfering with Current Cases
                                                                                              - 11 -
                                                                 FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 13 of 47 Page ID #:186



                                                          1   and with civil rights advocacy in general, and causing damage to Cornell’s

                                                          2   professional reputation as a lawyer.1

                                                          3         51.    A true and correct recitation of content from the Press Release is set

                                                          4   forth below:2

                                                          5                “RIVERSIDE – Two men, including an attorney, have
                                                                           been charged by the DA’s Office with filing fraudulent
                                                          6                lawsuits against small business owners in Riverside
                                                          7                County pertaining to alleged violations of the Americans
                                                                           with Disabilities Act (ADA) and conspiring to deceive
                                                          8                involved parties during the litigation of those lawsuits ...
                                                          9                Cornell … of Big Bear; and … Estrada … of Homeland,
                                                                           have been charged with six felonies including conspiracy
                                                         10                and filing a false document. Cornell has been an attorney
                                                         11                in California since 2000. Both defendants were arrested
                                                                           the morning of March 10.
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444




                                                                           The defendants have filed more than 60 lawsuits against
                           WWW. CAL LA HA N-LA W. CO M




                                                         13
                                                                           individuals and small businesses in Riverside County
                                                         14                since 2019 alleging they were violating the ADA. The
                                                                           investigation showed that the defendants had specifically
                                                         15
                                                                           targeted the small businesses they sued as well as making
                                                         16                misrepresentations in the legal documents they filed. To
                                                                           obtain monetary settlements, Estrada claimed to have
                                                         17
                                                                           been denied access to the businesses they sued.
                                                         18
                                                                           Similar fraudulent lawsuits alleging ADA violations have
                                                         19                been going on for years.
                                                         20
                                                                           The Riverside County District Attorney’s Office supports
                                                         21                accessibility rights for disabled persons but strongly
                                                         22
                                                                           maintains that ADA laws should not be manipulated
                                                                           solely for financial benefit as alleged in this case.”
                                                         23

                                                         24         52.    Despite the fact that the Criminal Complaint alleged violations with

                                                         25   respect to only three specific ADA cases that were voluntarily settled and resolved

                                                         26
                                                              1
                                                         27     https://rivcoda.org/community-info/news-media-archives/two-men-including-an-
                                                            attorney-charged-with-filing-fraudulent-american-with-disabilities-act-lawsuits
                                                            2
                                                         28   Personal identifying information published in the Press Release has been redacted.
                                                                                               - 12 -
                                                                  FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 14 of 47 Page ID #:187



                                                          1   several years ago, the Press Release grossly exaggerated the scope of the charges in

                                                          2   an intentional ploy to interfere with Current Cases, to disparage Cornell in his

                                                          3   professional capacity as an attorney, to create the impression of widespread “fraud,”

                                                          4   to harass Plaintiffs, and for the purpose of tarnishing Cornell’s professional

                                                          5   reputation.

                                                          6         53.     The RCDA made blatant misrepresentations in the Press Release:

                                                          7                 “The Riverside County District Attorney’s Office supports
                                                                            accessibility rights for disabled persons but strongly maintains
                                                          8                 that ADA laws should not be manipulated solely for financial
                                                          9                 benefit as alleged in this case” (emphasis added).

                                                         10         54.     Webster’s Dictionary Online defines “solely” as follows: “not
                                                         11   involving … anything else.” In other words, the RCDA broadly announced and
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   disseminated its false representation that the ADA lawsuits filed by Plaintiffs
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13   resulted in a financial benefit “and nothing else.”
                                                         14         55.     In fact, the three ADA lawsuits that are the subject of the Criminal
                                                         15   Complaint each resulted in written settlement agreements pursuant to which the
                                                         16   defendants agreed to remediate specific disability access barriers. Other ADA
                                                         17   lawsuits have resulted in disability access improvements with absolutely no
                                                         18   financial benefit – actually resulting in unreimbursed costs incurred in securing the
                                                         19   necessary ADA compliance “and nothing else.” The RCDA’s statement is thus
                                                         20   false and misleading, and amounts to trade libel.
                                                         21         56.     At least fifty (50) Riverside County ADA lawsuits resulted in written
                                                         22   settlement agreements whereby the settling defendants authorized Cornell to advise
                                                         23   the public that the parties had achieved “satisfactory settlements … under which
                                                         24   remedial work will be completed at the facility in the interest of justice and
                                                         25   fairness.” The three lawsuits that form the basis for the Criminal Complaint were
                                                         26   among them. Accordingly, the RCDA’s allegation that the ADA lawsuits consisted
                                                         27   of “fraud and deceit” and were brought “solely for financial benefit” is totally and
                                                         28
                                                                                             - 13 -
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 15 of 47 Page ID #:188



                                                          1   completely without merit or foundation, by the admissions of the parties to those

                                                          2   actions.

                                                          3          57.    The RCDA’s bias and animus towards Plaintiffs and the Protected

                                                          4   Activities is evidenced by the RCDA’s malicious retaliation and criminal threats

                                                          5   against Plaintiffs, its plain effort to inflict emotional distress on Plaintiffs, its

                                                          6   disparagement of Plaintiffs in public writings, its broadcasting and disseminating

                                                          7   false and exaggerated press releases about fictional “ADA fraud,” its arrest,

                                                          8   detention, and prosecution of Plaintiffs, and its actions causing Plaintiffs to expend

                                                          9   financial resources to defend against the RCDA’s retaliation, intimidation, and

                                                         10   coercion.

                                                         11          58.    Libelous press releases and SWAT-style arrests of disabled persons and
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   attorneys for loosely alleged non-violent crimes committed in the context of
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13   protected federal civil rights advocacy are unjustified and portray animus and bias.

                                                         14   Moreover, the motivation for the RCDA’s conduct is highly suspect in light of the

                                                         15   impending June 2022 election for the office of District Attorney in Riverside and the

                                                         16   seeming effort by the RCDA to generate media attention.

                                                         17          59.    The RCDA’s conduct herein has been disgraceful and is plainly below

                                                         18   the standard expected of public officers in the pursuit of justice. People v.

                                                         19   Davenport, 13 Cal. App. 632, 642-43 (3d Dist. 1910) (“everyone familiar with the

                                                         20   execution of the criminal law knows that … the district attorney must …. be mindful

                                                         21   of the rights of the defendant and endeavor to maintain that equipoise of judgment

                                                         22   and demeanor so becoming to one engaged in the pursuit and administration of

                                                         23   justice.”).

                                                         24          F.     The Criminal Complaint Has No Chance of Success on the Merits

                                                         25          60.    The RCDA oversteps its bounds by intruding into areas of exclusive

                                                         26   federal jurisdiction. Congress is vested with the power to implement the restrictions

                                                         27   and protections it deems necessary for the furtherance of federal policies. This

                                                         28   includes (1) the implementation of criminal penalties arising from alleged deception
                                                                                              - 14 -
                                                                 FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 16 of 47 Page ID #:189



                                                          1   in federal processes, (2) protections against the prosecution of parties and their

                                                          2   attorneys in connection with alleged deceptive content federal pleadings, (3)

                                                          3   protections against retaliation and interference by public entities arising from

                                                          4   Protected Activities, and (4) protections of First Amendment rights.

                                                          5         61.       The RCDA’s effort to criminalize the filing of ADA lawsuits is a

                                                          6   flagrant violation of the anti-retaliation and anti-interference provisions of the ADA,

                                                          7   is contradictory to clear congressional intent behind the ADA and its enforcement

                                                          8   scheme, is predicated on a self-serving, incomplete and inaccurate assessment of

                                                          9   Article III standing, and violates exclusive federal jurisdiction, the supremacy

                                                         10   clause, the ADA, and Plaintiffs’ First Amendment freedoms of speech and petition.

                                                         11         62.       The ADA constitutes express authorization for the Court to enjoin the
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   Prosecution under 28 U.S.C. § 2283. Dilworth v. Riner, 343 F.2d 226, 230 (1965).
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13                                 FIRST CAUSE OF ACTION

                                                         14                       Violations of Article III of the U.S. Constitution

                                                         15                                 Exclusive Federal Jurisdiction

                                                         16                            (By Plaintiffs Against All Defendants)

                                                         17         63.       Plaintiffs incorporate by reference the foregoing paragraphs of this First

                                                         18   Amended Complaint as though fully set forth herein.

                                                         19         64.       The ADA lawsuits filed by Cornell on behalf of Estrada were federal

                                                         20   processes with no connection to the state of California. They were filed exclusively

                                                         21   in federal court and alleged causes of action that arose under federal question

                                                         22   jurisdiction.

                                                         23         65.       Standing arises under Article III of the Constitution and is interpreted

                                                         24   and applied by federal courts according to federal standards. The alleged “false

                                                         25   statements” that form the basis of the Criminal Complaint relate to the content of

                                                         26   federal court pleadings and improperly attempt to raise Article III standing issues in

                                                         27   a manner inconsistent with binding Ninth Circuit authorities:

                                                         28
                                                                                             - 15 -
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 17 of 47 Page ID #:190



                                                          1    Chapman v. Pier 1 Imps. (U.S.), Inc., 631 F.3d 939, 944: “An ADA plaintiff

                                                          2      can establish standing to sue for injunctive relief either by demonstrating

                                                          3      deterrence,” or “by demonstrating injury-in-fact coupled with an intent to

                                                          4      return to a noncompliant facility.” Thus, “[d]emonstrating an intent to return

                                                          5      to a noncompliant accommodation is but one way for an injured plaintiff to

                                                          6      establish Article III standing to pursue injunctive relief.” Id. at 949 (emphasis

                                                          7      added). “A disabled individual . . . suffers a cognizable injury if he is

                                                          8      deterred from visiting a noncompliant public accommodation because he has

                                                          9      encountered barriers related to his disability there.” Id.

                                                         10    Civil Rights Educ. & Enft Ctr. v. Hosp. Properties Tr., 867 F.3d 1093, 1102

                                                         11      (9th Cir. 2017): “We also conclude that motivation is irrelevant to the
                                                                 question of standing under Title III of the ADA.”
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707




                                                               Gordon v. Virtumundo, Inc., 575 F.3d 1040, 1069 (9th Cir. 2009): “There
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13

                                                         14      are a few areas in which our developing statutory law has embraced the

                                                         15      concept of permitting claims by those who insert themselves in the

                                                         16      controversy for the express purpose of creating a lawsuit … we accord

                                                         17      standing to individuals who sue defendants that fail to provide access to the

                                                         18      disabled in public accommodation as required by the [ADA], even if we

                                                         19      suspect that such plaintiffs are hunting for violations just to file lawsuits.”)

                                                         20      (Gould, J., concurring).

                                                         21    Doran v. 7-Eleven, Inc., 524 F.3d 1034,1042, fn. 5 (9th Cir. 2008): “Once a

                                                         22      disabled individual has encountered or become aware of alleged ADA

                                                         23      violations that deter his patronage of or otherwise interfere with his access to

                                                         24      a place of public accommodation, he has already suffered an injury in fact

                                                         25      traceable to the defendant's conduct and capable of being redressed by the

                                                         26      courts, and so he possesses standing under Article III to bring his claim for

                                                         27      injunctive relief forward.”

                                                         28
                                                                                           - 16 -
                                                              FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 18 of 47 Page ID #:191



                                                          1       Lindsay v. Mulne, No. 2:19-cv-01166-VAP-GJSx, 2019 WL 13026400, at 49

                                                          2         (C.D. Cal. Nov. 21, 2019): “[I]n the ADA context, a tester who enters a

                                                          3         business and, without an independent desire to patronize that business, poses

                                                          4         as a patron, and collects evidence about noncompliance with the ADA has

                                                          5         standing to bring an ADA action.”

                                                          6       Johnson v. Alhambra & O Assocs., No. 2:19-CV-00103-JAM-DB, 2019 WL

                                                          7         2577306, at *3 (E.D. Cal. June 24, 2019): “[A]n ADA plaintiff’s motivations

                                                          8         are irrelevant to the standing inquiry.” (Internal citations omitted.)

                                                          9         66.    The protections afforded to Plaintiffs for filing the ADA lawsuits arise

                                                         10   under federal statutes. The power to regulate the administration of the federal

                                                         11   courts, including litigation procedures and the content of pleadings, is exclusively
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   within the jurisdiction of the federal courts and is regulated by federal law as set
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13   forth in the Federal Rules of Civil Procedure.

                                                         14         67.    The power of punishment for offering false statements in a federal

                                                         15   judicial proceeding belongs to the government in whose tribunals that proceeding is

                                                         16   had. In re Loney, 134 U.S. 372, 375 (1890). California courts affirm the exclusive

                                                         17   role of the federal courts in matters arising from the laws of the United States as

                                                         18   exercised in federal tribunals. When criminal charges arise that are alleged to have

                                                         19   occurred in the course of the execution of the laws of the United States, the acts

                                                         20   cannot subject the parties to punishment under state law. People v. Hassan, 168

                                                         21   Cal. App. 4th 1306, 1318 (2008) (quoting People v. Kelly, 38 Cal. 145, 150-51

                                                         22   (1869)).

                                                         23         68.    The RCDA exceeds the scope of its power and authority by ignoring

                                                         24   the protections of 18 U.S.C. § 1001(b), 42 U.S.C. § 12203 and 28 C.F.R. § 36.206,

                                                         25   by attempting to prosecute under state laws inapplicable to federal processes, and by

                                                         26   violating Article III in its effort to usurp the power of the federal authorities to

                                                         27   regulate the content of pleadings and conduct of proceedings in federal court.

                                                         28
                                                                                             - 17 -
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 19 of 47 Page ID #:192



                                                          1           69.   Under the doctrine of exclusive federal jurisdiction, the RCDA’s

                                                          2   retaliatory and coercive conduct chills the exercise of zealous civil rights advocacy

                                                          3   and undermines and interferes with the adversarial process. The RCDA’s conduct is

                                                          4   unconstitutional and cannot be permitted to continue.

                                                          5           70.   The RCDA improperly invades exclusive federal jurisdiction by, inter

                                                          6   alia:

                                                          7                 a.    Prosecuting Plaintiffs for the Protected Activities in

                                                          8                       contradiction to protections afforded by 18 U.S.C. § 1001(b);

                                                          9                 b.    Prosecuting Plaintiffs for the Protected Activities in violation of

                                                         10                       42 U.S.C. § 12203; and

                                                         11                 c.    Prosecuting Plaintiffs for the Protected Activities in violation of
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12                       28 C.F.R. § 36.206.
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444




                                                                            The RCDA’s harassment, interference intimidation, threats and
                           WWW. CAL LA HA N-LA W. CO M




                                                         13           71.

                                                         14   coercion against Plaintiffs continues by virtue of the criminal prosecution, is

                                                         15   ongoing, and will continue until the RCDA is restrained by an order of this Court.

                                                         16                             SECOND CAUSE OF ACTION

                                                         17                 Violations of Article V, Section 2 of the U.S. Constitution

                                                         18                         Supremacy Clause – Federal Preemption

                                                         19                          (By Plaintiffs Against All Defendants)

                                                         20           72.   Plaintiffs incorporate by reference the foregoing paragraphs of this First

                                                         21   Amended Complaint Complaint as though fully set forth herein.

                                                         22           73.   The RCDA’s conduct violates Article VI, Section 2 of the United

                                                         23   States Constitution, which establishes that the federal Constitution, and federal law

                                                         24   generally, takes precedence over state laws.

                                                         25           74.   The Supremacy Clause prohibits states from interfering with the federal

                                                         26   government’s exercise of its constitutional powers and from assuming any functions

                                                         27   that are exclusively entrusted to the federal government. It declares the

                                                         28   Constitution, laws, and treaties of the federal government to be the supreme law of
                                                                                             - 18 -
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 20 of 47 Page ID #:193



                                                          1   the land to which judges in every state are bound regardless of state law to the

                                                          2   contrary.

                                                          3         75.    Even where Congress has not completely displaced state regulation in a

                                                          4   specific area, state law is nullified to the extent that it actually conflicts with federal

                                                          5   law. Such a conflict arises when compliance with both federal and state regulations

                                                          6   is a physical impossibility or when state law stands as an obstacle to the

                                                          7   accomplishment and execution of the full purposes and objectives of Congress.

                                                          8   Hines v. Davidowitz, 312 U.S. 52, 67 (1941).

                                                          9         76.    Congressional purpose in this respect is plainly stated in 18 U.S.C. §

                                                         10   1001(b), 42 U.S.C. § 12203, and 28 C.F.R. § 36.206. 18 U.S.C. § 1001(b) excepts

                                                         11   Plaintiffs from and protects them against criminal prosecution based on the content
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   of pleadings filed in federal court for the purpose of preventing a chilling effect on
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13   zealous advocacy. Moreover, 42 U.S.C. § 12203 and 28 C.F.R. § 36.206

                                                         14   specifically protect Plaintiffs for engaging in Protected Activities under the ADA for

                                                         15   the purpose of affecting Congress’s intended sweeping remedial and societal

                                                         16   changes intended by the ADA with the necessity of private enforcement.

                                                         17         77.    Cal. Penal Code § 115 and Cal. Bus. & Prof. Code § 6128 as applied by

                                                         18   the RCDA in the Criminal Complaint conflict with 18 U.S.C. § 1000(b). Therefore,

                                                         19   Section 1001(b) preempts the RCDA’s prosecution of Cornell under Cal. Penal

                                                         20   Code § 115 and Cal. Bus. & Prof. Code § 6128 as applied in this case.

                                                         21         78.    Cal. Penal Code § 115 and Cal. Bus. & Prof. Code § 6128 conflict with

                                                         22   42 U.S.C. § 12203 and 28 C.F.R. § 36.206 as applied by the RCDA in the Criminal

                                                         23   Complaint because the ADA prohibits retaliation and interference with Cornell in

                                                         24   connection with the Protected Activities. Therefore, 42 U.S.C. § 12203 and 28

                                                         25   C.F.R. § 36.206 preempt the RCDA’s prosecution of Plaintiffs under Cal. Penal

                                                         26   Code § 115 and Cal. Bus. & Prof. Code § 6128 as applied in this case.

                                                         27

                                                         28
                                                                                             - 19 -
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 21 of 47 Page ID #:194



                                                          1            79.   The RCDA’s violations of federal law are ongoing, are causing

                                                          2   irreparable harm, and will continue until the RCDA is restrained by an order of this

                                                          3   Court.

                                                          4                                THIRD CAUSE OF ACTION

                                                          5                     Violations of the Americans with Disabilities Act

                                                          6                               42 U.S.C. § 12203 – Retaliation

                                                          7                           (By Plaintiffs Against All Defendants)

                                                          8            80.   Plaintiffs incorporate the prior allegations of this First Amended

                                                          9   Complaint by reference as if fully set forth herein.

                                                         10            81.   The ADA makes it unlawful to “discriminate against any individual

                                                         11   because such individual has opposed any act or practice made unlawful by this Act
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   or because such individual made a charge, testified, assisted, or participated in any
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444




                                                              manner in an investigation, proceeding, or hearing under this Act.” 42 U.S.C. §
                           WWW. CAL LA HA N-LA W. CO M




                                                         13

                                                         14   12203(a).

                                                         15            82.   The ADA further renders it unlawful “to coerce, intimidate, threaten, or

                                                         16   interfere with any individual in the exercise or enjoyment of, or on account of his or

                                                         17   her having exercised or enjoyed … any right granted or protected by this chapter.”

                                                         18   42 U.S.C. § 12203(b).

                                                         19            83.   The Protected Activities constitute Plaintiffs’ exercise of rights

                                                         20   protected by the ADA and are thus entitled to the protections of 42 U.S.C. § 12203.

                                                         21            84.   The RCDA’s conduct constitutes unlawful retaliation against Plaintiffs

                                                         22   for engaging in the Protected Activities in violation of Section 12203(a). The

                                                         23   RCDA’s conduct also constitutes unlawful coercion, intimidation, threats and

                                                         24   interference with the exercise of Plaintiffs’ protected rights under the ADA in

                                                         25   violation of Section 12203(b).

                                                         26            85.   The Criminal Complaint brought by the RCDA has no chance of

                                                         27   success on the merits and was brought for malicious purpose of harassing and

                                                         28   intimidating Plaintiffs, of coercing Plaintiffs to stop prosecuting ADA enforcement
                                                                                             - 20 -
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 22 of 47 Page ID #:195



                                                          1   actions against Riverside County defendants, to threaten Plaintiffs in their liberty

                                                          2   and professions, to chill the advocacy of ADA plaintiffs in Riverside County, and to

                                                          3   retaliate against Plaintiffs for bringing ADA lawsuits against Riverside County

                                                          4   defendants.

                                                          5         86.     The conduct of the RCDA, including the Criminal Complaint and all

                                                          6   investigative and prosecutorial activities related thereto, have been materially

                                                          7   adverse to Plaintiffs, whose Protected Activities were the direct and proximate but-

                                                          8   for cause of the Criminal Complaint and the RCDA’s conduct. Current Cases have

                                                          9   been and are being detrimentally affected by the RCDA’s conduct.

                                                         10         87.     The RCDA’s conduct was and is in bad faith and for a malicious

                                                         11   purpose in violation of Section 12203. The RCDA’s conduct is part of a policy and
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12   practice of unlawful retaliation, coercion, threats, intimidation, interference, and
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13   harassment by the RCDA disabled plaintiffs and their attorneys, is continuing, and

                                                         14   will continue unless and until enjoined by an order of this Court.

                                                         15                              FOURTH CAUSE OF ACTION

                                                         16                      Violations of 28 C.F.R. § 36.206 – Interference

                                                         17                           (By Plaintiffs Against All Defendants)

                                                         18         88.     Plaintiffs incorporate the prior allegations of this First Amended

                                                         19   Complaint by reference as if fully set forth herein.

                                                         20         89.     Plaintiffs’ Protected Activities are entitled to the protections of 28

                                                         21   C.F.R. § 36.206. 28 C.F.R. § 36.206 states as follows:

                                                         22                 (a) No private or public entity shall discriminate against any
                                                                            individual because that individual has opposed any act or
                                                         23                 practice made unlawful by this part, or because that individual
                                                         24                 made a charge, testified, assisted, or participated in any manner
                                                                            in an investigation, proceeding, or hearing under the Act or this
                                                         25                 part;
                                                         26
                                                                            (b) No private or public entity shall coerce, intimidate, threaten,
                                                         27                 or interfere with any individual in the exercise or enjoyment of,
                                                         28                 or on account of his or her having exercised or enjoyed, or on
                                                                                             - 21 -
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 23 of 47 Page ID #:196



                                                          1                account of his or her having aided or encouraged any other
                                                                           individual in the exercise or enjoyment of, any right granted or
                                                          2
                                                                           protected by the Act or this part.
                                                          3
                                                                           (c) Illustrations of conduct prohibited by this section include,
                                                          4                but are not limited to:
                                                          5
                                                                                 (1) Coercing an individual to deny or limit the benefits,
                                                          6                services, or advantages to which he or she is entitled under the
                                                                           Act or this part;
                                                          7

                                                          8                      (2) Threatening, intimidating, or interfering with an
                                                                           individual with a disability who is seeking to obtain or use the
                                                          9                goods, services, facilities, privileges, advantages, or
                                                         10                accommodations of a public accommodation;

                                                         11                       (3) Intimidating or threatening any person because that
                                                                           person is assisting or encouraging an individual or group
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE




                                                                           entitled to claim the rights granted or protected by the Act or
                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13                this part to exercise those rights; or
                                                         14                       (4) Retaliating against any person because that person
                                                         15                has participated in any investigation or action to enforce the Act
                                                                           or this part.
                                                         16
                                                                    90.    The RCDA’s conduct constitutes unlawful retaliation by a public entity
                                                         17
                                                              against Plaintiffs for engaging in the Protected Acts in violation of Section
                                                         18
                                                              36.206(a). The RCDA’s conduct constitutes unlawful coercion, intimidation,
                                                         19
                                                              threats, and interference with Plaintiffs’ exercise of protected rights under the ADA
                                                         20
                                                              in violation of Section 36.206(b).
                                                         21
                                                                    91.    The Criminal Complaint brought by the RCDA has no chance of
                                                         22
                                                              success on the merits and was brought for malicious purpose of harassing and
                                                         23
                                                              intimidating Plaintiffs, of coercing Plaintiffs to stop prosecuting ADA enforcement
                                                         24
                                                              actions against Riverside County defendants, to publicly defame Plaintiffs, to
                                                         25
                                                              threaten Plaintiffs in their liberty and profession, to chill the advocacy of ADA
                                                         26
                                                              plaintiffs in Riverside County, to threaten Plaintiffs with felony convictions, to
                                                         27

                                                         28
                                                                                             - 22 -
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 24 of 47 Page ID #:197



                                                          1   interfere with Current Cases and to retaliate against Plaintiffs for bringing ADA

                                                          2   lawsuits against Riverside County defendants.

                                                          3         92.    The conduct of the RCDA, including the Criminal Complaint and all

                                                          4   investigative and prosecutorial activities related thereto, have been materially

                                                          5   adverse to Plaintiffs, whose Protected Activities were the direct and proximate but-

                                                          6   for cause of the Criminal Complaint and the RCDA’s conduct.

                                                          7         93.    Plaintiffs and the Current Cases have been and are being detrimentally

                                                          8   affected by the RCDA’s conduct, which will continue unless and until enjoined by

                                                          9   an order of this Court.

                                                         10                                 FIFTH CAUSE OF ACTION

                                                         11                              Violations of U.S. Const., Amend. I
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12                             (By Plaintiffs Against All Defendants)
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13         94.    Plaintiffs incorporate the prior allegations of this First Amended

                                                         14   Complaint by reference as if fully set forth herein.

                                                         15         95.    The First Amendment guarantees “the right of the people … to petition

                                                         16   the Government for a redress of grievances.” As such, the First Amendment

                                                         17   protects Plaintiffs’ rights to free speech and petition for redress of grievances as it

                                                         18   relates to the ADA lawsuits Plaintiffs filed in federal court.

                                                         19         96.    The RCDA’s prosecution of Plaintiffs violates the First Amendment.

                                                         20         97.    The Criminal Complaint brought by the RCDA has no chance of

                                                         21   success on the merits and was brought for malicious purpose of harassing and

                                                         22   intimidating Plaintiffs, of coercing Plaintiffs to stop prosecuting ADA enforcement

                                                         23   actions against Riverside County defendants, to publicly defame Plaintiffs, to

                                                         24   threaten Plaintiffs in their liberty and professions, to chill the advocacy of ADA

                                                         25   plaintiffs in Riverside County, to threaten Plaintiffs with felony convictions, to

                                                         26   interfere with Current Cases, and to retaliate against Plaintiffs for bringing ADA

                                                         27   lawsuits against Riverside County defendants.

                                                         28
                                                                                             - 23 -
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 25 of 47 Page ID #:198



                                                          1          98.   The conduct of the RCDA, including the Criminal Complaint and all

                                                          2   investigative and prosecutorial activities related thereto, have been materially

                                                          3   adverse to Plaintiffs, whose Protected Activities were the direct and proximate but-

                                                          4   for cause of the Criminal Complaint and the RCDA’s conduct. Plaintiffs and the

                                                          5   Current Cases have been and are being detrimentally affected by the RCDA’s

                                                          6   conduct.

                                                          7          99.   The RCDA’s conduct is performed in bad faith and for a malicious

                                                          8   purpose. The RCDA’s conduct is part of a policy and practice of unlawful

                                                          9   retaliation, coercion, threats, intimidation, and harassment by the RCDA of disabled

                                                         10   plaintiffs and their attorneys, is continuing, and will continue unless and until

                                                         11   enjoined by an order of this Court.
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12                                  PRAYER FOR RELIEF
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13          Plaintiffs pray to this Court for declaratory relief, preliminary and permanent

                                                         14   injunctive relieve, and all other appropriate relief including, but not limited to, the

                                                         15   following:

                                                         16          1.    A judicial declaration pursuant to 28 U.S.C. § 2201(a) that the

                                                         17   Prosecution violates the ADA;

                                                         18          2.    Issuance of a preliminary and permanent injunction ordering the RCDA

                                                         19   to stay the Prosecution of Plaintiffs;

                                                         20          3.    Issuance of a preliminary and permanent injunction ordering the RCDA

                                                         21   to dismiss the Prosecution with prejudice;

                                                         22          4.    Issuance of a preliminary and permanent injunction ordering the RCDA

                                                         23   to retract its press release concerning Cornell;

                                                         24          5.    Issuance of a preliminary and permanent injunction restraining and

                                                         25   enjoining the RCDA from interfering with Plaintiffs’ pending lawsuits under the

                                                         26   ADA;

                                                         27          6.    Issuance of a preliminary and permanent injunction restraining and

                                                         28   enjoining the RCDA from using the fruits of its investigation in further acts of
                                                                                             - 24 -
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                                   Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 26 of 47 Page ID #:199



                                                          1   retaliation or interference against Plaintiffs;

                                                          2         7.      For the payment of attorneys’ fees and costs incurred by Plaintiffs

                                                          3   herein; and

                                                          4         8.      For any other and/or further relief deemed appropriate by this Court.

                                                          5

                                                          6   Dated: May 26, 2022                     CALLAHAN & BLAINE, APLC
                                                          7
                                                                                                      By: /s/ Gaurav K. Reddy
                                                          8                                               Gaurav K. Reddy
                                                                                                          Attorney for Plaintiffs Ross Cornell and
                                                          9                                               Bryan EstradaAttorneys for Plaintiffs
                                                                                                          Ross Cornell and Bryan Estrada
                                                         10

                                                         11
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                         12
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW. CAL LA HA N-LA W. CO M




                                                         13

                                                         14

                                                         15

                                                         16

                                                         17

                                                         18

                                                         19
                                                         20

                                                         21

                                                         22

                                                         23

                                                         24

                                                         25

                                                         26
                                                         27

                                                         28
                                                                                             - 25 -
                                                                FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 27 of 47 Page ID #:200




                                  EXHIBIT A
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 28 of 47 Page ID #:201
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 29 of 47 Page ID #:202
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 30 of 47 Page ID #:203
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 31 of 47 Page ID #:204
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 32 of 47 Page ID #:205
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 33 of 47 Page ID #:206




                                  EXHIBIT B
          Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 34 of 47 Page ID #:207
Two men, including an attorney, charged with filing fraudulent American with Disabilities Act lawsuits
                                                                                       4/20/22, 8:58 AM




                                                                                                                         #            $            %           &            '


                                     (http://rivcoda.org/)                                                                   !       "             Select Language ​ ▼



       THE OFFICE     VICTIM SERVICES      BUREAU OF INVESTIGATION       RESOURCES       CRIME PREVENTION UNIT   DANGERS OF FENTANYL                 COMMUNITY INFO




                                               News/Media/Archives




                                                NEWS / MEDIA / ARCHIVES
                                                                                     Two men, including an                   Archive
                                                                                     attorney, charged with                  2022 (http://rivcoda.org/community-
                                                                                     filing fraudulent American              info/news-media-
                                                                                     with Disabilities Act                   archives/acat/2/yeararchive/2022)
                                                                                     lawsuits
                                                                                                                                 8 (http://rivcoda.org/community-info/news-media-

                                                                  RIVERSIDE – Two men,                                           archives/acat/2/yeararchive/2022)
                                                                                                                                          2022, March
                                                                  including an attorney, have                                             (http://rivcoda.org/community-
                                                                  been charged by the DA’s                                                info/news-media-
                                                                  Office with filing fraudulent                                           archives/acat/2/archive/3-2022)

    10                                                            lawsuits against small
                                                                  business owners in Riverside
                                                                                                                                           3 (http://rivcoda.org/community-info/news-
    MAR
    2022                                                                                                                                   media-archives/acat/2/archive/3-2022)
                                                                  County pertaining to alleged                                            2022, February

  violations of the Americans with Disabilities Act (ADA) and conspiring to deceive involved                                              (http://rivcoda.org/community-

  parties during the litigation of those lawsuits.                                                                                        info/news-media-

                                                                                                                                          archives/acat/2/archive/2-2022)


                                                                                                                                           2 (http://rivcoda.org/community-info/news-


  Ross Christopher Cornell, DOB:        , of Big Bear; and Bryan Eduardo Estrada, DOB:
                                                                                                                                           media-archives/acat/2/archive/2-2022)
                                                                                                                                          2022, January

    , of Homeland, have been charged with six felonies including conspiracy and filing a false                                            (http://rivcoda.org/community-

  document. Cornell has been an attorney in California since 2000. Both defendants were                                                   info/news-media-

  arrested the morning of March 10.                                                                                                       archives/acat/2/archive/1-2022)


                                                                                                                                           3 (http://rivcoda.org/community-info/news-
                                                                                                                                           media-archives/acat/2/archive/1-2022)
                                                                                                                             2021 (http://rivcoda.org/community-
  The defendants have filed more than 60 lawsuits against individuals and small businesses                                   info/news-media-
  in Riverside County since 2019 alleging they were violating the ADA. The investigation                                     archives/acat/2/yeararchive/2021)
  showed that the defendants had specifically targeted the small businesses they sued as well
                                                                                                                                 37 (http://rivcoda.org/community-info/news-media-




https://rivcoda.org/community-info/news-media-archives/two-men-includi…charged-with-filing-fraudulent-american-with-disabilities-act-lawsuits                         Page 1 of 3
          Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 35 of 47 Page ID #:208
Two men, including an attorney, charged with filing fraudulent American with Disabilities Act lawsuits
                                                                                       4/20/22, 8:58 AM



  as making misrepresentations in the legal documents they filed. To obtain monetary
                                                                                                                                      archives/acat/2/yeararchive/2021)


  settlements, Estrada claimed to have been denied access to the businesses they sued.                                               2020 (http://rivcoda.org/community-

                                                                                                                                     info/news-media-

                                                                                                                                     archives/acat/2/yeararchive/2020-1)

  Similar fraudulent lawsuits alleging ADA violations have been going on for years.                                                   30 (http://rivcoda.org/community-info/news-media-
                                                                                                                                      archives/acat/2/yeararchive/2020-1)


                                                                                                                                     2019 (http://rivcoda.org/community-

  The Riverside County District Attorney’s Office supports accessibility rights for disabled                                         info/news-media-

  persons but strongly maintains that ADA laws should not be manipulated solely for financial                                        archives/acat/2/yeararchive/2019-1)

  benefit as alleged in this case.                                                                                                    39 (http://rivcoda.org/community-info/news-media-
                                                                                                                                      archives/acat/2/yeararchive/2019-1)




  Anyone with information about this case involving defendants Cornell and Estrada is asked
  to contact DA Senior Investigator John Gubernat at johngubernat@rivcoda.org
  (mailto:johngubernat@rivcoda.org). Please include your name and telephone number.



  The case, RIF2201190, is being prosecuted by Deputy District Attorney Timothy Brown of the
  DA’s Felony Prosecution Unit.




                                                                        ###



    Documents to download
            NEWS RELEASE -- Two men, including an attorney, charged with filing fraudulent American with Disabilities Act lawsuits

       (/DesktopModules/EasyDNNNews/DocumentDownload.ashx?portalid=0&moduleid=867&articleid=179&documentid=134)




       Like 3         Tweet      Share
                                 Share        Share            Print




https://rivcoda.org/community-info/news-media-archives/two-men-includi…charged-with-filing-fraudulent-american-with-disabilities-act-lawsuits                               Page 2 of 3
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 36 of 47 Page ID #:209




                                  EXHIBIT C
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 37 of 47 Page ID #:210




                                           People v. Rutherford
                         Court of Appeal of California, Fourth Appellate District, Division Two
                                          December 23, 2020, Opinion Filed
                                                       E073700

Reporter
2020 Cal. App. Unpub. LEXIS 8539 *; 2020 WL 7640848
                                                             Appellant.
THE PEOPLE, Plaintiff and Appellant, v. JAMES
RUTHERFORD et al., Defendants and Respondents.               Bremer Whyte Brown & O'Meara, Benjamin L. Price and
                                                             Courtney M. Serrato for Defendants and Respondents
Notice: NOT TO BE PUBLISHED IN OFFICIAL                      James Rutherford and The Association for Equal
REPORTS. CALIFORNIA RULES OF COURT, RULE                     Access.
8.1115(a), PROHIBITS COURTS AND PARTIES FROM
                                                             Callahan & Blaine, Daniel J. Callahan, David J. Darnell
CITING OR RELYING ON OPINIONS NOT CERTIFIED
                                                             and Drew Harbur for Defendants and Respondents Law
FOR PUBLICATION OR ORDERED PUBLISHED,
                                                             Offices of Babak Hashemi, Babak Hashemi, Manning
EXCEPT AS SPECIFIED BY RULE 8.1115(b). THIS
                                                             Law, Joseph R. Manning, Michael J. Manning and Craig
OPINION HAS NOT BEEN CERTIFIED FOR
                                                             Cote.
PUBLICATION OR ORDERED PUBLISHED FOR THE
PURPOSES OF RULE 8.1115.
                                                             Judges: FIELDS, J.; McKINSTER, Acting P. J.
                                                             concurred. RAPHAEL, J., Concurring.
Subsequent History: Time for Granting or Denying
Review Extended People v. Rutherford, 2021 Cal.
                                                             Opinion by: FIELDS, J.
LEXIS 2189 (Cal., Mar. 24, 2021)

Review denied by People v. Rutherford, 2021 Cal.             Opinion
LEXIS 2550 (Cal., Apr. 14, 2021)
                                                             I. INTRODUCTION
Prior History: [*1] APPEAL from the Superior Court of
Riverside County, No. RIC1902577, Sunshine S. Sykes,         In this civil action, the People allege in their complaint
Judge.                                                       that defendants and respondents, comprised of two
                                                             litigants, two law firms, and four attorneys1 (collectively,
Disposition: Affirmed.                                       defendants), engaged in an unlawful business practice,
                                                             in violation of the unfair competition law (the UCL) (Bus.
Core Terms                                                   & Prof. Code, § 17200, et. seq.), by filing and pursuing
                                                             approximately 120 "fraudulent ADA lawsuits," falsely
lawsuits, litigation privilege, violations, fraudulent,      accusing Riverside County [*2] businesses and
derivative, borrowed, communications, defendants', civil     individuals of violating the Americans with Disabilities
action, pursuing, alleges, unfair competition, judicial      Act (the ADA) (42 U.S.C. § 12181, et seq.), in order to
proceedings, perjury, proceedings, extortion, predicate,     extort monetary settlements from the defendants in the
demurrer, criminal prosecution, business practice,           ADA lawsuits. The People seek to enjoin defendants
deceit, unfair, criminal statute, parties, courts, voters,
theft, cause of action, remedies, public prosecutor
                                                             1 Defendants  and respondents are James Rutherford, an
Counsel: Michael A. Hestrin, District Attorney, Emily R.     individual, The Association for Equal Access ("A4EA"), an
Hanks and Timothy S. Brown, Deputy District Attorneys,       unincorporated entity founded by Rutherford, two law firms,
for Plaintiff and Appellant.                                 The Law Offices of Babak Hashemi ("Hashemi Law") and
                                                             Manning Law, APC ("Manning Law"), and four attorneys,
The Civil Justice Association of California and Fred J.
                                                             Babak Hashemi, Joseph R. Manning Jr., Michael J. Manning,
Hiestand as Amicus Curiae on behalf of Plaintiff and         and Craig Cote.
 Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 38 of 47 Page ID #:211
                                                                                                            Page 2 of 11
                                          2020 Cal. App. Unpub. LEXIS 8539, *2

from filing and pursuing fraudulent ADA lawsuits, along           approximately 300 in federal court, alleging ADA
with civil penalties of not less than $1,000,000 from             violations, and approximately 23 in state court, alleging
each defendant, and "full restitution" to the victims of          violations of the Unruh Civil Rights Act (the Unruh Act)
defendants' unfair "ADA lawsuit scheme."                          (Civ. Code, § 51 et seq.). The 300 federal court lawsuits
                                                                  also alleged violations of the Unruh Act, and include the
The trial court sustained defendants' general demurrer            120 ADA lawsuits in which Rutherford, or
to the People's complaint (Code Civ. Proc., § 430.10,             Rutherford [*4] and A4EA, are plaintiffs.
subd. (e)), without leave to amend, and entered a
judgment of dismissal on the ground that the litigation           The ADA lawsuits generally contain the "same
privilege (Civ. Code, § 47, subd. (b)) protected                  boilerplate allegations." Each alleges that: Rutherford is
defendants' communications in filing and pursuing the             a California resident with a qualified ADA disability (see
ADA lawsuits. In this appeal, the People claim their UCL          42 U.S.C. § 12102(2)); Rutherford attempted to visit the
claim falls outside the scope of the privilege because it         businesses of the defendant(s) in the ADA lawsuits on
alleges that defendants violated three criminal statutes,         certain dates or in given months; when Rutherford
each more specific in their operation than the privilege:         attempted to visit the businesses, he encountered at
Penal Code section 484 (theft by false pretenses),                least one "'architectural barrier,'" for example, a non-
Penal Code section 523 (extortion by writing), and                ADA compliant handicap parking space, signage, curb
Business and Professions Code section 6128,                       ramp, or access route; as a result of these barriers,
subdivision (a) (deceit and collusion by attorneys). The          Rutherford was "deterred from patronizing" the
People also claim that the privilege does not apply               businesses and "suffered difficulty, humiliation and/or
because they were not a party to the ADA lawsuits. We             frustration"; following his first attempted visit, and
agree that the litigation privilege applies to the People's       despite the architectural barriers and ADA violations,
UCL claim, and we affirm the judgment [*3] of                     Rutherford intended to return to the businesses in order
dismissal.                                                        to avail himself of their goods and services and to
II. FACTS AND PROCEDURE                                           ensure that they complied with the ADA. In each ADA
                                                                  lawsuit, Rutherford and A4EA sought injunctive relief to
A. The Allegations of the People's Complaint2                     remedy the ADA violations, plus "mandatory minimum"
                                                                  damages of at least $4,000 for each alleged Unruh Act
James Rutherford is a plaintiff in approximately 120
                                                                  violation.
lawsuits, filed in federal court, alleging ADA violations
against       "Riverside  County       individuals  and/or        Rutherford did not visit any of the businesses sued in
businesses"       (the   ADA     lawsuits).    A4EA,     an       the ADA lawsuits "for good faith purposes"; rather,
unincorporated entity founded by Rutherford, is a                 he [*5] visited each business for the sole purpose of
plaintiff in approximately 26 of the 120 ADA lawsuits in          initiating a federal ADA lawsuit against it. Rutherford
which Rutherford is also a plaintiff. Hashemi Law, and            also had no "good faith intention" to return to any of the
attorney Babak Hashemi, filed the approximate 26 ADA              businesses, and he did not return to any of the
lawsuits in which Rutherford and A4EA are plaintiffs.             businesses after the ADA lawsuit against each business
Manning Law, and attorneys Joseph R. Manning, Jr.,                was filed. Rutherford was never "denied, by way of any
Michael J. Manning, and Craig Cote, filed the                     architectural barriers, full access and/or full enjoyment
approximate 94 ADA lawsuits in which only Rutherford              at any of the businesses sued" in any of the ADA
is plaintiff. Manning Law "typically" files ADA lawsuits on       lawsuits, based on his claimed disabilities. Rutherford
behalf of Rutherford, and Hashemi Law files ADA                   had been observed "on multiple occasions, walking and
lawsuits on behalf of Rutherford and A4EA.                        ambulating without difficulty," and engaging in behavior
                                                                  "inconsistent with the claims" in the ADA lawsuits. None
Defendants have collectively filed "some 323 lawsuits"—
                                                                  of the businesses sued in the ADA lawsuits have any
                                                                  record of Rutherford entering their businesses, including
                                                                  video evidence, purchase or appointment records, or
2 Inkeeping with our standard of review of the order sustaining   verbal or written complaints concerning the alleged ADA
the demurrer, we assume the truth of the complaint's well-        or Unruh Act violations. A4EA is controlled by
pleaded, nonconclusory factual allegations. (Blank v. Kirwan      Rutherford, has "no more than a few members," is
(1985) 39 Cal.3d 311, 318, 216 Cal. Rptr. 718, 703 P.2d 58;
                                                                  "nothing more than a website," and was "used" by
PGA West Residential Assn. Inc. v. Hulven Internat., Inc.,
                                                                  defendants "to increase fear and exact settlements"
(2017) 14 Cal.App.5th 156, 164, fn. 3, 168, 221 Cal. Rptr. 3d
                                                                  from the defendants sued in the ADA lawsuits.
353.) We summarize those factual allegations in this section.
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 39 of 47 Page ID #:212
                                                                                                                     Page 3 of 11
                                             2020 Cal. App. Unpub. LEXIS 8539, *5

The complaint thus alleges that Rutherford lacked                     Defendants filed a general demurrer to the complaint,
standing to file and maintain the ADA lawsuits, [*6] and              that is, they claimed it failed to state a cause of action.
that defendants were fully aware of Rutherford's lack of              (Code Civ. Proc., § 430.10, subd. (e).) They argued that
standing, and his ability to fully ambulate without aid,              their alleged conduct and statements in filing and
when each ADA lawsuit was filed. "Defendants colluded,                pursuing the ADA lawsuits were "absolutely protected
conspired and/or otherwise agreed to engage in an ADA                 by California's litigation privilege."5 The People opposed
lawsuit scheme, designed to defraud, extract and/or                   the demurrer.
extort money settlements from Riverside County
individuals and businesses, based on the fraud,                       Following a hearing, the trial court concluded that it was
misrepresentations and false allegations contained in                 very clear that the litigation privilege protected
each and every one of the federal ADA lawsuits."                      defendants' communications made in, and in
                                                                      furtherance of, the ADA lawsuits, and there was no
Based on defendants' pursuit and filing of the ADA                    reasonable possibility that the complaint could be
lawsuits, the complaint alleges two causes of action                  amended to state a cause of action. The court thus
against each defendant: the first for engaging in unfair              sustained the demurrer, without leave to amend, and
competition in violation of Business and Professions                  entered judgment dismissing the complaint. The People
Code section 17200 (the UCL claim), and the second for                filed [*8] this timely appeal.
making false and misleading statements in violation of                III. DISCUSSION
Business and Professions Code section 17500. As part
of its UCL claim, the complaint alleges that, by filing and           A. Standard of Review
pursuing the ADA lawsuits, each defendant violated
Penal Code sections 484 (grand theft) and 523                         A general demurrer to a complaint is properly sustained
(extortion by writing).                                               when the complaint fails to state facts sufficient to
                                                                      constitute a cause of action. (Code Civ. Proc., § 430.10,
The complaint further alleges that Hashimi Law,                       subd. (e); see Wittenberg v. Bornstein (2020) 51
Manning Law, and the four attorney defendants3                        Cal.App.5th 556, 566, 265 Cal. Rptr. 3d 192.) Our
violated Business and Professions Code sections 6106                  review of the resulting judgment of dismissal is de novo.
(attorney's commission of any act involving moral                     (Roy Allan Slurry Seal, Inc. v. American Asphalt South,
turpitude, dishonesty, or corruption constitutes a cause              Inc. (2017) 2 Cal.5th 505, 512, 213 Cal. Rptr. 3d 568,
for disbarment or suspension) and 6128 (attorney deceit               388 P.3d 800.)
or collusion, [*7] with intent to deceive the court or any
party, is a misdemeanor), along with former rules 1-120               In determining whether the complaint states a cause of
and 3-200 of the Rules of Professional Conduct.4 The                  action, we assume the truth of its well-pleaded factual
complaint seeks to enjoin defendants from engaging in                 allegations, but not contentions, deductions, or
the "unlawful, unfair, and fraudulent business practices"             conclusions of fact or law. (Aubry v. Tri-City Hospital
of filing and pursuing false ADA lawsuits; to impose a                Dist. (1992) 2 Cal.4th 962, 967, 9 Cal. Rptr. 2d 92, 831
civil penalty of not less than $1,000,000 on each                     P.2d 317; Blank v. Kirwan, supra, 39 Cal.3d at p. 318.)
defendant, and "full restitution" to the victims of                   We affirm the judgment of dismissal "'if any one of the
defendants' "ADA lawsuit scheme."
B. Defendants' Demurrer and the Trial Court's Ruling
                                                                      5 Defendants   alternatively claimed that their actions and
                                                                      communications in filing and pursuing the ADA lawsuits
                                                                      constituted protected petitioning activity under the First
3 See   footnote 1, ante.                                             Amendment and the Noerr-Pennington doctrine, and that the
                                                                      second cause of action did not state a claim because they did
4 References    to rules are to the Rules of Professional Conduct.    not engage in any "advertising," as that term is used in
Former rule 3-200 prohibited a California bar member from             Business and Professions Code section 17500. The trial court
seeking, accepting, or continuing employment if the member            did not rule on these alternative grounds for the demurrer,
knew or had reason to know that the objective of the                  given its conclusion that the litigation privilege applied to the
employment was to bring an action or assert a position in             entire complaint. We also do not reach these issues, given our
litigation without probable cause. Former rule 1-200 prohibited       conclusion that the litigation privilege applies to the People's
a member of the California bar from knowingly assisting,              UCL claim, and given that the People have abandoned their
soliciting, or inducing any violation of the rules or the State Bar   False Advertising Law (FAL) claim (Bus. & Prof. Code, §
Act. (Bus. & Prof. Code, § 6000 et. seq.)                             17500). See footnote 6, post.
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 40 of 47 Page ID #:213
                                                                                                          Page 4 of 11
                                        2020 Cal. App. Unpub. LEXIS 8539, *8

several grounds of demurrer is well taken.'" (Wiseman          "zealously protect their clients' interests" without the
Park, LLC v. Southern Glazer's Wine & Spirits, LLC             threat of subsequent derivative tort actions. (Id. at pp.
(2017) 16 Cal.App.5th 110, 116, 223 Cal. Rptr. 3d 802.)        213-214.) "'[It] is desirable to create an absolute
                                                               privilege . . . not because we desire to protect the shady
On appeal, the plaintiff has the burden of showing that        practitioner, but because [*10] we do not want the
the facts pleaded in the complaint are sufficient to           honest one to have to be concerned with [subsequent
establish every element of the cause of action, and to         derivative tort] actions . . . .'" (Id. at p. 214.)
overcome the legal grounds on which the trial court
sustained the demurrer. (Martin v. Bridgeport                  The privilege also serves to promote the finality of
Community Assn., Inc. (2009) 173 Cal.App.4th 1024,             judgments: "[I]n immunizing participants from liability for
1031, 93 Cal. Rptr. 3d 405.) The People have not met           torts arising from communications made during judicial
this burden. As we explain, the litigation privilege           proceedings, the [privilege] places upon litigants the
applies to the People's complaint, and the People have         burden of exposing during trial the bias of witnesses and
not shown that an exception to the privilege applies.          the falsity of evidence, thereby enhancing the finality of
                                                               judgments and avoiding an unending roundelay of
B. The Litigation Privilege, Overview                          litigation, an evil far worse than an occasional unfair
                                                               result." (Silberg v. Anderson, supra, 50 Cal.3d at p.
The litigation privilege, codified at Civil Code section 47,
                                                               214.) "For our justice system to function, it is necessary
subdivision (b), "states the long-established rule that
                                                               that litigants assume responsibility for the complete
publications made in the course of a judicial proceeding
                                                               litigation of their cause during the proceedings. To allow
are absolutely privileged." (Albertson v. Raboff (1956)
                                                               a litigant to attack the integrity of evidence after the
46 Cal.2d 375, 379, 295 P.2d 405 [*9] [former Civ.
                                                               proceedings have concluded, except in the most
Code, § 47(2)].) The privilege has been given "broad
                                                               narrowly circumscribed situations, such as extrinsic
application." (Silberg v. Anderson (1990) 50 Cal.3d 205,
                                                               fraud, would impermissibly burden, if not inundate, our
211, 266 Cal. Rptr. 638, 786 P.2d 365.) Although it was
                                                               justice system." (Ibid.)
originally enacted to immunize defendants from liability
for the tort of defamation, the privilege currently applies    Although the privilege is held to be "absolute in nature"
to all communications, whether or not they amount to           to effect its purposes (Silberg v. Anderson, supra, 50
publications, and to all torts except malicious                Cal.3d at p. 215), it is "not without limit." (Action
prosecution. (Id. at p. 212.)                                  Apartment Assn., supra, 41 Cal.4th at p. 1242.) In
                                                               Action Apartment Assn., our Supreme Court noted that
The "usual formulation" is that the privilege applies "to
                                                               the privilege does not apply in criminal prosecutions for
any communication (1) made in judicial or quasi-judicial
                                                               perjury [*11] (Pen. Code, § 118, et seq.), subornation of
proceedings; (2) by litigants or other participants
                                                               perjury (Pen. Code, § 127), and filing a false crime
authorized by law; (3) to achieve the objects of the
                                                               report (Pen. Code, § 148.5). (Action Apartment Assn., at
litigation; and (4) that [has] some connection or logical
                                                               p. 1246.) Likewise, the privilege does not apply in
relation to the action." (Silberg v. Anderson, supra, 50
Cal.3d at p. 212.) "The privilege 'is not limited to           criminal prosecutions or State Bar disciplinary
statements made during a trial or other [judicial or quasi-    proceedings for soliciting attorney business through
                                                               runners or cappers (Bus. & Prof. Code, §§ 6152-6153),
judicial] proceedings, but may extend to steps taken
                                                               or for violating Business and Professions Code section
prior thereto, or afterwards.'" (Action Apartment Assn.,
                                                               6128, which, as relevant here, makes it a misdemeanor
Inc. v. City of Santa Monica (2007) 41 Cal.4th 1232,
                                                               for an attorney to engage in deceit or collusion with the
1241, 63 Cal. Rptr. 3d 398, 163 P.3d 89 (Action
                                                               intent to deceive the court or any party. (Action
Apartment Assn.).)
                                                               Apartment Assn., at p. 1246.)
The privilege serves important public policies. Its
                                                               The court in Action Apartment Assn. noted that these
principal purpose is to afford litigants and witnesses "the
                                                               particular exceptions to the privilege "ha[ve] been
utmost freedom of access to the courts without fear of
                                                               guided by the 'rule of statutory construction that
being harassed subsequently by derivative tort actions."
                                                               particular provisions will prevail over general
(Silberg v. Anderson, supra, 50 Cal.3d at p. 213.) The
                                                               provisions.'" (Action Apartment Assn., supra, 41 Cal.4th
privilege also promotes the effectiveness of judicial
                                                               at p. 1246; Civ. Code, § 1859.) "Each of the above
proceedings and the administration of justice by
                                                               mentioned statutes is more specific than the litigation
encouraging "'open channels of communication and the
                                                               privilege and would be [rendered] significantly or wholly
presentation of evidence,'" and by enabling attorneys to
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 41 of 47 Page ID #:214
                                                                                                            Page 5 of 11
                                        2020 Cal. App. Unpub. LEXIS 8539, *11

inoperable if its enforcement were barred when in              privilege, on the ground that the more specific statute
conflict with the privilege. The crimes of perjury and         would be rendered wholly or substantially inoperable if
subordination of perjury would be almost without               the privilege applied. (See, e.g., Komarova v. National
meaning if statements made during the course of                Credit Acceptance, Inc. (2009) 175 Cal.App.4th 324,
litigation were protected from prosecution for perjury by      337-340, 95 Cal. Rptr. 3d 880 [privilege did not apply in
the litigation privilege. The misdemeanors established         civil action for damages for violations of Rosenthal Fair
by Business and Professions Code section 6128 evince           Debt Collection Practices Act (the Rosenthal Act) (Civ.
a legislative intent that certain attorney conduct not be      Code, § 1788 et seq.)]; People v. Persolve, LLC (2013)
protected      from    prosecution    by    the   litigation   218 Cal.App.4th 1267, 1275-1276, 160 Cal. Rptr. 3d
privilege." [*12] (Action Apartment Assn., at p. 1246.)        841 [privilege did not apply in People's UCL for
                                                               violations of the Rosenthal Act and federal Fair Debt
"In all of the above examples," the court "found               Collection Practices Act (15 U.S.C. § 1692 et seq.)
exceptions to the litigation privilege based on                (Persolve)]; Banuelos v. LA Investment, LLC (2013) 219
irreconcilable conflicts between the privilege and other       Cal.App.4th 323, 328-335, 161 Cal. Rptr. 3d 772
coequal state laws." (Action Apartment Assn., supra, 41        [privilege did not apply to claim for retaliatory eviction
Cal.4th at p. 1247; see Hagberg v. California Federal          under Civ. Code, § 1942.5]; and People ex rel. Alzayat
Bank (2004) 32 Cal.4th 350, 361, 7 Cal. Rptr. 3d 803,          v. Hebb (2017) 18 Cal.App.5th 801, 807-808, 827-828,
81 P.3d 244 ["Section 47(b), of course, does not bar a         226 Cal. Rptr. 3d 867 [privilege did not apply in People's
criminal prosecution that is based on a statement or           qui tam action against plaintiff's employer for violating
communication, when the speaker's utterance                    the Insurance Frauds Prevention Act (Ins. Code, § 1871
encompasses the elements of a criminal offense. (See,          et seq.)].)
e.g., Pen. Code, §§ 118 [perjury], 148.5 [false report of
criminal offense].)"].) There is, however, no "exception       In contrast, courts have found that the privilege does
for criminal prosecutions . . . inherent in the litigation     apply in UCL actions that do not involve statutory
privilege itself." (Action Apartment Assn., p. 1246.)          violations more specific than the privilege. (See, e.g.,
                                                               Rubin v. Green (1993) 4 Cal.4th 1187, 1193-1204, 17
Apart from whether the privilege applies in particular         Cal. Rptr. 2d 828, 847 P.2d 1044 (Rubin) [privilege
criminal prosecutions, the privilege has been held             barred UCL [*14] action against attorney and capper for
applicable in derivative civil actions based on allegations    wrongful solicitation of litigation against plaintiff in prior
that the defendants violated a criminal statute, or            action]; People ex rel. Gallegos v. Pacific Lumber Co.
committed perjury or fraud, in a prior action. (See, e.g.,     (2008) 158 Cal.App.4th 950, 955-956, 958-959, 70 Cal.
Ribas v. Clark (1985) 38 Cal.3d 355, 358-359, 364-365,         Rptr. 3d 501 (Gallegos) [privilege barred People's UCL
212 Cal. Rptr. 143, 696 P.2d 637 [privilege applied in         action    for    intentional     misrepresentations       and
derivative civil action based on attorney's alleged            concealment of material facts in administrative
violations of Pen. Code §§ 631, 637, & 637.2 (invasion         proceedings under the California Environmental Quality
of privacy) in prior action]; Steiner v. Eikerling (1986)      Act (CEQA) (Pub. Resources Code, § 21000 et seq.)].)
181 Cal.App.3d 639, 642-643, 226 Cal. Rptr. 694
[privilege applied in derivative civil action based on         C. The Litigation Privilege Applies to the People's UCL
defendants' submission of forged and falsified will in         Claim
prior probate proceeding]; Herterich v. Peltner (2018) 20
                                                               The People argue that their UCL claim—their first cause
Cal.App.5th 1132, 1141-1142, 229 Cal. Rptr. 3d 744
                                                               of action alleging that defendants engaged in unfair
[privilege protected the defendant's malicious or
                                                               competition (Bus. & Prof. Code, § 17200), by filing and
fraudulent communications [*13] in prior probate
                                                               pursuing the false and fraudulent ADA actions—falls
proceeding in derivative civil action for damages]; and
Doctors' Co. Ins. Servs. v. Superior Court (1990) 225          outside the scope of the litigation privilege.6 They argue
Cal.App.3d 1284, 1300, 275 Cal. Rptr. 674 [privilege
applied in derivative civil action based on the
                                                               6 The People do not claim that their second cause of action
defendant's alleged subordination of perjury in prior
action].)                                                      against defendants for violating Business and Professions
                                                               Code section 17500 (FAL claim) in connection with the ADA
In other derivative civil actions, courts have held that the   lawsuits is exempt from the litigation privilege. Instead, the
                                                               People confine their discussion to their UCL claim.
privilege does not apply if the action is based on a
                                                               Accordingly, we consider the People's FAL claim forfeited or
statute that is more specific in its operation than the
                                                               abandoned. (Sierra Palms Homeowners Assn. v. Metro Gold
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 42 of 47 Page ID #:215
                                                                                                               Page 6 of 11
                                         2020 Cal. App. Unpub. LEXIS 8539, *14

that their UCL claim is predicated on three criminal             By their UCL claim, the People are not enforcing the
statutes, each more specific than the privilege: Penal           three predicate criminal statutes that provide the basis
Code sections 484 (grand theft) and 523 (extortion               of their UCL claim. (Rose v. Bank of America, N.A.,
through writing), and Business and Professions Code              supra, 57 Cal.4th at p. 397.) Rather, [*16] they are
section 6128, subdivision (a) (attorney deceit or                pursuing a civil enforcement action for injunctive relief,
collusion with intent to mislead court or any party is a         civil penalties, and restitution, based on defendants'
misdemeanor). They further argue that the applications           unfair, unlawful, and fraudulent business practice of
of these three predicate statutes would be "significantly        violating the three predicate criminal statutes in filing
undermined" if the privilege barred their UCL claim. We          and pursuing the ADA lawsuits. The People do not
conclude that the privilege bars the People's UCL claim.         dispute, and it is clear, that all of the factual allegations
                                                                 underlying their UCL claim fall within the "usual
We begin by noting that "[t]he UCL sets out three                formulation" of the litigation privilege. (Silberg v.
different kinds of business acts or practices that may           Anderson, supra, 50 Cal.3d at p. 212.) Instead, they
constitute [*15] unfair competition: the unlawful, the           argue their UCL claim is excepted from the privilege
unfair, and the fraudulent. (Bus. & Prof. Code, §                because the predicate statutes underlying it are more
17200.)" (Rose v. Bank of America, N.A. (2013) 57                specific than the privilege, and the operation of these
Cal.4th 390, 394, 159 Cal. Rptr. 3d 693, 304 P.3d 181.)          statues would be substantially undermined if the
"By proscribing 'any unlawful' business practice,                privilege applied to their UCL claim.
'[Business and Professions Code] section 17200
"borrows" violations of other laws and treats them as            When the "borrowed" statute underlying a UCL claim is
unlawful practices that the [UCL] makes independently            more specific than the privilege, the conduct "specifically
actionable.'" (Cel-Tech Communications, Inc. v. Los              prohibited" by the borrowed statute is excepted from the
Angeles Cellular Telephone Co. (1999) 20 Cal.4th 163,            privilege. (Persolve, supra, 218 Cal.App.4th at p. 1276.)
180, 83 Cal. Rptr. 2d 548, 973 P.2d 527.) "[B]y                  But here, the crimes of theft (Pen. Code, § 484) and
borrowing requirements from other statutes, the UCL              extortion by writing (Pen. Code, § 523) are not more
does not serve as a mere enforcement mechanism [of               specific than the privilege because they can be
the other statutes]. [Rather, the UCL] provides its own          committed in many contexts, not only in a judicial
distinct and limited equitable remedies for unlawful             proceeding or to achieve the objects of the litigation.
business practices, using other laws only to define what         (See Silberg v. Anderson, supra, 50 Cal.3d at p. 212.)
is 'unlawful.'" (Rose v. Bank of America, N.A., at p. 397.)      Nor, as we later explain, would the operation of these
                                                                 statutes be substantially [*17] undermined by the
In their UCL claim, the People allege that defendants            application of the privilege to the People's UCL claim.
engaged in all three types of unfair competition. They           (Cf. Persolve, supra, at p. 1275 [The Rosenthal Act and
claim defendants committed an unfair, unlawful, and              the federal Fair Debt Collection Practices Act would be
fraudulent business practice—by violating Penal Code             rendered "significantly inoperable" and "negated" if they
sections 484 and 523, and section 6128 of Business               "did not prevail over the privilege where the two
and Professions Code—in filing and pursuing the ADA              conflict."].)
lawsuits. That is, they claim that defendants committed
the crimes of theft and extortion by writing, and that the       Although our Supreme Court has noted that the litigation
attorney defendants also committed or consented to               privilege does not apply to a criminal prosecution for
commit fraud or deceit, with the intent to mislead the           violation of Business and Professions Code section
court or the defendants in the ADA lawsuits.7                    6128 (Action Apartment Assn., supra, 41 Cal.4th at p.
                                                                 1246), the People are not criminally prosecuting
                                                                 defendants for violating this statute. Rather, the
Line Foothill Extension Construction Authority (2018) 19         People's UCL claim amounts to a derivative civil action
Cal.App.5th 1127, 1136, 228 Cal. Rptr. 3d 568.)                  against     defendants     based     on     fraudulent
                                                                 communications that defendants made in, or in
7 Penal  Code section 484 defines the crime of theft as          furtherance of, the filing and pursuit of their ADA
including the taking of personal property of another "by any
false or fraudulent representation or pretense." Penal Code
section 523 criminalizes, as a form of extortion (Pen. Code, §   Professions Code, subdivision (a), provides in relevant part
519), sending a letter or a writing to a person threatening to   that, "Every attorney is guilty of a misdemeanor who . . . [i]s
expose or impute to the person a "deformity, disgrace, or        guilty of any deceit or collusion, or consents to any deceit or
crime." (Pen. Code, § 519.) Section 6128 of the Business and     collusion, with intent to deceive the court or any party."
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 43 of 47 Page ID #:216
                                                                                                                Page 7 of 11
                                         2020 Cal. App. Unpub. LEXIS 8539, *17

lawsuits. (Silberg v. Anderson, supra, 50 Cal.3d at        p.    including in this action. (Hagberg v. California Federal
212.) The People's UCL claim is precisely the type         of    Bank, supra, 32 Cal.4th at pp. 371-372; Rubin, at pp.
derivative civil action that the privilege was intended    to    1198-1199, 1203-1204; Silberg v. Anderson, at pp. 218-
preclude. (See id. at pp. 216-218; Rubin, supra,            4    219 ["[I]n a good many cases of injurious
Cal.4th at pp. 1193-1204.)                                       communications, other remedies aside from a derivative
                                                                 suit . . . will exist and may help deter injurious
Rubin is instructive. There, a co-owner of a mobilehome          [communications] during litigation. Examples of these
park, Rubin, sued one of the park's residents, Green,            remedies include criminal prosecution for perjury . . . or
and Green's attorneys, for various torts including               subordination of perjury . . . ."].)8
interfering in the park owners' contractual relations with
park residents, and for committing an unfair business
practice (Bus. & Prof. Code, § 17200) by unlawfully              8 At  oral argument, the People asked this court to, at minimum,
soliciting the park's residents to sue the park's owners in
                                                                 allow their UCL claim to proceed against the attorney
a prior [*18] lawsuit, in violation of Business and
                                                                 defendants based on the attorney's alleged misdemeanor
Professions Code sections 6152 and 6153. (Rubin,                 violations of section 6128, subdivision (a), of the Business and
supra, 4 Cal.4th at p. 1191-1192, 1196-1197, 1200.)              Professions Code in filing and pursuing the ADA lawsuits. As
The Rubin court held that the litigation privilege barred        they did in their briefing, the People maintain that Business
Rubin's tort and UCL claims. (Id. at pp. 1196-1197.) It          and Professions Code section 6128 is more specific than the
reasoned that the privilege protected the defendants'            litigation privilege. We agree. As our Supreme Court has
factual misrepresentations to the park residents,                observed, "The misdemeanors established by Business and
together with their other communications made during,            Professions Code section 6128 evince a legislative intent that
and in furtherance of, their filing of the prior lawsuit,        certain attorney conduct not be protected from prosecution by
even if their conduct amounted to unlawful attorney              the litigation privilege." (Action Apartment Assn., supra, 41
                                                                 Cal.4th at p. 1246, added italics.) But as we have noted, the
solicitation. (Id. at p. 1196.)
                                                                 People, by their UCL claim, are not prosecuting the attorney
                                                                 defendants for any misdemeanor violations of Business and
In rejecting Rubin's argument that the privilege did not
                                                                 Professions Code section 6128. Rather, the People are
bar his UCL claim, the Rubin court noted that our Courts
                                                                 seeking to hold all of the defendants civilly liable under the
of Appeal had, in various cases, "rejected the claim that        UCL based on their alleged fraud and deceit in filing and
a plaintiff may, in effect, 'plead around' absolute barriers     pursuing the ADA lawsuits.
to relief by relabeling the nature of the action as one
brought under the unfair competition statute." (Rubin,           This is a critical distinction. As we have noted, courts have
supra, 4 Cal.4th at p. 1201.) The court further reasoned         held that the litigation privilege does not apply to a UCL claim
that, because the defendants' conduct was "clearly               that is based on a "borrowed" statute that is more specific than
communicative and otherwise within the scope" of the             the privilege, but only if the more specific statute would be
privilege, permitting "the same communicative acts to be         rendered wholly or substantially inoperable if the privilege
the subject of an injunctive relief proceeding" under the        applied. (See, e.g., Persolve, supra, 218 Cal.App.4th at p.
                                                                 1276 ["Where, as here, the 'borrowed' statute is more specific
UCL would "upset the carefully constructed balance
                                                                 than the litigation privilege and the two are irreconcilable,
between 'the freedom of an individual to seek redress in
                                                                 unfair competition law claims based on conduct specifically
the courts and the interest of a potential defendant in
                                                                 prohibited by the borrowed statute are excepted from the
being free from unjustified litigation [*19] . . . .'" (Id. at   litigation privilege." (Italics added.)].) The privilege and
pp. 1202-1203.)                                                  Business and Professions Code section 6128 are not
                                                                 irreconcilable. That is, the latter statute will not be rendered
The Rubin court's reasoning applies to the People's              wholly or substantially inoperable by applying the privilege to
UCL claim. Even if defendants committed theft,                   the People's UCL claim, to the extent the UCL claim is based
extortion, and deceit or fraud (Pen. Code, §§ 484, 523;          on the attorney defendants' alleged violations of the statute.
Bus. & Prof. Code, § 6128) in filing and pursuing the            Indeed, People may criminally prosecute the attorney
ADA lawsuits, permitting the People's UCL claim would            defendants for their alleged misdemeanor violations of
undermine the purposes of the privilege. (Rubin, supra,          Business and Professions Code section 6128 in filing and
4 Cal.4th at pp. 1193-1204; Silberg v. Anderson, supra,          pursuing the ADA lawsuits. The attorney defendants are also
                                                                 subject to State Bar disciplinary proceedings for the same
50 Cal.3d at p. 212.) Additionally, the availability of
                                                                 alleged misdemeanor violations. Further, allowing the People's
criminal, civil, and State Bar sanctions for fraudulent
                                                                 derivative UCL action to proceed against the attorney
conduct in judicial proceedings supports taking an
                                                                 defendants based on their alleged violations of the statute in
"expansive view of the privilege in civil actions,"              the ADA lawsuits would undermine one of the principal
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 44 of 47 Page ID #:217
                                                                                                              Page 8 of 11
                                          2020 Cal. App. Unpub. LEXIS 8539, *19

The People argue that, "if affirmed, the trial court's order       judicial proceeding—undermine free and open access to
will immunize respondents' criminal fraud scheme and               the courts and the finality of judgments, unless the
frustrate the People's enforcement of criminal laws                action is based on a statute that is more specific than
designed to protect against attorney deceit, extortion,            the privilege, and the statute would be vitiated or
and theft." We respectfully disagree. As noted,                    significantly undermined if the privilege applied. (See,
defendants' alleged misconduct is not immunized by                 e.g., Persolve, supra, 218 Cal.App.4th at p. 1275.)
application of [*20] the litigation privilege to this lawsuit.
                                                                   D. The Privilege Applies to the People's UCL Claim,
There remains the availability of criminal charges9 and
                                                                   Even Though the People Were Not a Party to the ADA
other remedies for defendants' alleged fraudulent
                                                                   Lawsuits and Are Suing Defendants on Behalf of the
conduct that would not conflict with the privilege,
                                                                   Public
including State Bar sanctions and civil sanctions in the
ADA lawsuits themselves. As courts have also                       Lastly, the People claim the litigation privilege "must
recognized, the unavailability of derivative civil liability,      yield" to their UCL claim because they were not a party
in a subsequent civil suit, for fraudulent conduct in              to the ADA lawsuits, and they are not a private litigant
litigation is "'"the necessarily harsh result in extending a       but are representing the public in their UCL [*22] claim.
privilege to false and fraudulent statements made in the           They argue, "if criminal conduct is tailored to coincide
course of a judicial proceeding. We accept that result,            with a judicial proceeding," and if prosecutors are barred
however, on account of the overriding importance of the            from pursuing UCL actions to enjoin such conduct, then
competing public policy in favor of enhancing the finality         "not only have [the underlying criminal] statutes been
of judgments and avoiding unending postjudgment                    rendered significantly inoperable, but the purpose of the
derivative litigation—a policy which places the obligation         [UCL] will also have been thwarted." They stress that
on parties to ferret out the truth while they have the             the UCL is broad and was intended "'to permit tribunals
opportunity to do so during litigation."'" (Herterich v.           to enjoin on-going wrongful business conduct in
Peltner, supra, 20 Cal.App.5th at p. 1142.) The                    whatever context such activity might occur.'" (People v.
"privilege extends to fraudulent statements, even when             McKale (1979) 25 Cal.3d 626, 632, 159 Cal. Rptr. 811,
made to a court, if they were made in furtherance of               602 P.2d 731.) In effect, the People ask this court to
litigation." (Id. at p. 1141; Flatley v Mauro (2006) 39            create an exception to the privilege where a UCL action,
Cal.4th 299, 322, 46 Cal. Rptr. 3d 606, 139 P.3d 2 ["The           based on criminal predicate statutes, is brought by a law
litigation privilege has been applied in 'numerous cases'          enforcement agency that was not a party to the prior
involving 'fraudulent communication or perjured                    action     in    which    the     underlying     privileged
testimony.'"].)                                                    communications were made. Following our Supreme
                                                                   Court in Action Apartment Assn., and the Court of
We also reject the People's claim [*21] that privilege             Appeal in Gallegos, we decline to do so.
should not apply here because their UCL claim is based
on statutory predicate offenses. The People maintain               In Action Apartment Assn., the plaintiffs, a group of
that UCL claims based on statutory predicate offenses,             landlords, sued the City of Santa Monica, claiming that
like theirs, "do not offend the primary purpose of the             the litigation privilege preempted the City's "Tenant
litigation privilege" because they are "'equitable in              Harassment" ordinance. (Action Apartment Assn.,
nature; damages cannot be recovered.'" But all UCL                 supra, 41 Cal.4th at pp. 1237, 1239.) Among other
actions are equitable in nature; the remedies are limited          things, the ordinance authorized the City to seek civil
to injunctive relief and restitution. (Prakashpalan v.             and criminal penalties against a landlord for suing
Engstrom, Lipscomb & Lack (2014) 223 Cal.App.4th                   a [*23] tenant to recover possession of a rental unit
1105, 1133, 167 Cal. Rptr. 3d 832.) Additionally, all              when the landlord lacked a reasonable factual or legal
derivative      UCL     actions—those      based       on          basis for the suit. (Id. at p. 1237.) The court in Action
communications made in, or in furtherance of, a prior              Apartment Assn. agreed with the plaintiffs that the
                                                                   privilege preempted this part of the ordinance: "Whether
purposes of the privilege: promoting the effectiveness of          actions pursuant to this provision of [the ordinance] are
judicial proceedings by encouraging attorneys to "zealously        brought by the City, a third party, or a tenant, such
protect their clients' interests" without fear of subsequent       actions alleging that a landlord had improperly filed an
derivative actions. (Silberg v. Anderson, supra, 50 Cal.3d at p.   action to recover possession of rental housing would
214.)
                                                                   severely restrict landlords' freedom of access to the
9 We  note the People are not pursuing criminal charges            courts." (Id. at p. 1243.)
against defendants by this action.
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 45 of 47 Page ID #:218
                                                                                                            Page 9 of 11
                                         2020 Cal. App. Unpub. LEXIS 8539, *23

The Action Apartment Assn. court squarely rejected the           reject the People's argument that the privilege does not
City's suggestion that any claims brought by parties not         apply to their UCL claim, and that their UCL claim is not
involved in the underlying litigation, including claims          truly a derivative suit because they were not a party to
brought by government entities, are not barred by the            the ADA lawsuits and are suing defendants on behalf of
privilege. (Action Apartment Assn., supra, 41 Cal.4th at         the public. As we have explained, the People's UCL
p. 1247.) The court acknowledged that, in Rubin, it              claim is precisely the type of derivative civil action that
"stated in dictum 'that the policy underlying the unfair         the privilege was intended to preclude. (Action
competition statute can be vindicated by multiple parties        Apartment Assn., supra, 41 Cal.4th at pp. 1247-1248.)
other than plaintiff,' including the Attorney General,
district attorneys, certain city attorneys, and 'members of      Lastly, in Action Apartment Assn., our Supreme Court
the public who, unlike plaintiff, are not adversaries in         acknowledged that the Legislature could create
collateral litigation involving the same attorneys.'" (Ibid.,    exceptions to the litigation privilege for parties and
citing Rubin, supra, 4 Cal.4th at p. 1204, italics added.)       nonparties to prior judicial proceedings. (Action
But the [*24] court expressly "decline[d] to recognize a         Apartment Assn., supra, 41 Cal.4th at p. 1247.) [*26]
broad exception to the litigation privilege for any party        The People's supporting amicus curiae claims that the
who did not participate in the underlying litigation,"           voters created an exception to the litigation privilege for
because "[a]n exception to the litigation privilege for all      public prosecutors in UCL actions when, in 2004, the
suits brought by parties who were not involved in the            voters approved Proposition 64 (Gen. Elec. (Nov. 2,
underlying litigation would be antithetical to the               2004)). We disagree.
privilege's purposes. . . . Derivative litigation brought by
parties who did not participate in the underlying                Proposition 64 revised the UCL's standing requirements
litigation, like litigation brought by parties who did           to provide that private plaintiffs can no longer bring UCL
participate, would pose an external threat of liability that     claims on behalf of themselves or the public, unless
would deter potential litigants, witnesses, and others           they "suffered injury in fact and . . . lost money or
from participating in judicial proceedings." (Id. at pp.         property as a result of . . . unfair competition." (Bus. &
1247-1248.)                                                      Prof. Code, § 17204, as amended by voters, Prop. 64, §
                                                                 3, eff. Nov. 3, 2004.) But we discern no intent and
The Court of Appeal reached the same conclusion in               purpose in the voters' enactment of Proposition 64 to
Gallegos. There, the People brought a UCL action                 exempt UCL actions, brought by public prosecutors,
against Pacific Lumber Co. for its alleged fraudulent            from the litigation privilege.
representations and concealments of facts in prior
administrative proceedings under CEQA. (Gallegos,                As our Supreme Court has explained, "'[i]n 2004, the
supra, 158 Cal.App.4th at pp. 954-956.) The company's            electorate substantially revised the UCL's standing
fraud allegedly resulted in it obtaining administrative          requirement; where once private suits could be brought
approval for an increased rate of timber harvesting, as          by "any person acting for the interests of itself, its
well      as     decreased       environmental      mitigation   members or the general public" (former § 17204, as
requirements on the company's timberlands. (Id. at pp.           amended by Stats. 1993, ch. 926, § 2, p. 5198), now
954-955.) The People sought civil penalties and other            private standing is limited to any "person who has
relief under the UCL to prevent the company [*25]                suffered injury in fact and has lost money or property" as
"from realizing profits on timber harvested pursuant to          a result of unfair competition (§ 17204, as amended by
[the company's] allegedly fraudulently obtained" plans           Prop. [*27] 64, as approved by voters, Gen. Elec. (Nov.
and approvals. (Id. at p. 956.) The Gallegos court               2, 2004) § 3; see Californians for Disability Rights v.
affirmed the order sustaining the company's general              Mervyn's, LLC [(2006)] 39 Cal.4th [223,] 227-228, 46
demurrer to the UCL complaint on the ground that the             Cal. Rptr. 3d 57, 138 P.3d 207 . . . ). The intent of this
litigation privilege applied. (Id. at pp. 954, 959.)             change was to confine standing to those actually injured
                                                                 by a defendant's business practices and to curtail the
Following Action Apartment Assn., the Gallegos court             prior practice of filing suits on behalf of "'clients who
rejected the People's claim that the privilege did not           have not used the defendant's product or service,
apply to their UCL complaint because they (1) were not           viewed the defendant's advertising, or had any other
a party to the underlying CEQA proceedings, and (2)              business dealing with the defendant . . . .'" (Californians
are a government entity, suing on behalf of the public           for Disability Rights, at p. 228, quoting Prop. 64, § 1,
rather than a private litigant. (Gallegos, supra, 158            subd. (b)(3).)'" (Kwikset Corp. v. Superior Court (2011)
Cal.App.4th at pp. 960-961.) For the same reasons, we            51 Cal.4th 310, 320-321, 120 Cal. Rptr. 3d 741, 246
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 46 of 47 Page ID #:219
                                                                                                              Page 10 of 11
                                           2020 Cal. App. Unpub. LEXIS 8539, *27

P.3d 877.)                                                          cannot reject this lawsuit because it is based on
                                                                    communications protected by the litigation privilege, as
Amicus curiae argues that the "intent and purpose" of               we do, without holding more broadly that an unfair
Proposition 64 was actually to "clarify and strengthen              competition law (UCL) lawsuit cannot be maintained in
the unique role of public prosecutors in enforcing the              the face of a litigation privilege bar. It does not work to
UCL to protect the public from 'shakedown' lawsuits" like           try to distinguish People v. Persolve, LLC (2013) 218
defendants' ADA lawsuits. But Proposition 64 did not                Cal.App.4th 1267, 160 Cal. Rptr. 3d 841 (Persolve),
change the standing requirements for public prosecutors             which allowed a UCL lawsuit founded on privileged
to bring UCL claims. Nor did it in any way concern the              communications. We must either follow Persolve or
litigation privilege or amend Civil Code section 47,                disagree with it.
subdivision (b).
                                                                    The reason for the exception to the Civil Code, section
Amicus curiae points to nothing in the provisions of                47, subdivision (b) (section 47(b)) litigation privilege for
Proposition 64, or in its ballot summary or arguments, to           statutes more specific than the privilege is that we
support its claim. (See B.M. v. Superior Court (2019) 40            presume that the legislature would not have enacted a
Cal.App.5th 742, 753, 253 Cal. Rptr. 3d 426 [in                     statute where the privilege would [*29] preclude nearly
determining intent of voter initiative, a court looks to the        all its uses. But the UCL is wide ranging, creating a civil
provisions of the initiative and may also look to the ballot        cause of action for conduct that is unfair, unlawful, or
materials in support of its passage].) We discern no                fraudulent. "The UCL . . . is not necessarily 'more
voter intent and purpose, either [*28] in the language of           specific than the litigation privilege and would [not] be
Proposition 64 or in its ballot summary and arguments,              significantly or wholly inoperable if its enforcement were
to repeal or limit the litigation privilege of Civil Code           barred when in conflict with the privilege.'" (People ex
section 47, subdivision (b), when a public prosecutor               rel. Gallegos v. Pacific Lumber Co. (2008) 158
brings a derivative UCL claim against a defendant                   Cal.App.4th 950, 962, 70 Cal. Rptr. 3d 501.)
based on communications that the defendant made in or               Consequently, we cannot infer that the legislature meant
in furtherance of a prior judicial proceeding.10 For the            for the UCL itself to trump the privilege, so it does not
reasons explained, the litigation privilege applies to the          fall into the exception.
People's UCL claim.
                                                                    Persolve, however, held that we are to examine whether
IV. DISPOSITION
                                                                    the statute "borrowed" by the UCL in a case is more
The judgment of dismissal is affirmed. Defendants shall             specific than the litigation privilege, and, if so, the UCL
recover their costs on appeal. (Cal. Rules of Court, rule           lawsuit can go forward just as a case based directly on
8.278.)                                                             that borrowed statute could. (Persolve, supra, 218
                                                                    Cal.App.4th at p. 1276.) One of the borrowed statutes in
Concur by: RAPHAEL, J.                                              this case is Business and Professions Code section
                                                                    6128 (section 6128), which criminalizes certain types of
Concur                                                              attorney deceit. As section 6128 is more specific than
                                                                    the privilege, it "evince[s] a legislative intent" that
                                                                    prosecution of the conduct is not barred by the privilege.
                                                                    (Action Apartment Assn, Inc. v. City of Santa Monica
RAPHAEL, J., Concurring.                                            (2007) 41 Cal.4th 1232, 1246, 63 Cal. Rptr. 3d 398, 163
                                                                    P.3d 89.) Under a straightforward application of
I respectfully concur separately because I think we
                                                                    Persolve, this UCL lawsuit would not be barred to the
                                                                    extent it relies on ("borrows") section 6128.

10 We  note the Legislature is quite capable of expressing its      By holding this lawsuit is barred without rejecting
intent to exempt public prosecutors from the application of a       Persolve, today's opinion suggests [*30] that, among
law where it desires to do so. For example, Code of Civil           statutes that are more specific than the privilege, some
Procedure section 425.16, subdivision (d), exempts public           can serve as a predicate for a UCL lawsuit but some
prosecutors from anti-SLAPP lawsuits. It provides as follows:       cannot. I do not see basis for distinguishing in this way
"This section shall not apply to any enforcement action             among the statutes that are more specific than the
brought in the name of the people of the State of California by
                                                                    privilege.
the Attorney General, district attorney, or city attorney, acting
as a public prosecutor."
Case 5:22-cv-00789-JWH-SHK Document 18 Filed 05/26/22 Page 47 of 47 Page ID #:220
                                                                                                       Page 11 of 11
                                       2020 Cal. App. Unpub. LEXIS 8539, *30

The principal reason today's opinion offers for               attorney brings a section 6128 prosecution. The
distinguishing Persolve is that section 6128 can be           Legislature, we infer, would not have intended to enact
enforced in ways other than through the UCL, including        a crime that could never be enforced due to the
criminal prosecutions and state bar proceedings. (Maj.        privilege. It is not, however, necessary that a UCL action
opn., ante, at p. 18, fn. 8.) This reason cannot              founded on section 6128 be an exception to the
distinguish Persolve because it would mean that               statutory privilege, because both section 6128 and the
Persolve itself was wrongly decided: the state and            UCL have effect in other ways. In sum, if we agree with
federal debt collection statutes "borrowed" in Persolve       Persolve that we are to focus on the borrowed statute in
also can be enforced without the UCL. Those statutes          a UCL action, I think we would have to approve of this
can be enforced through an individual debtor's private        lawsuit to the extent that it borrows section 6128. It is
right of action (Civ. Code § 1788.30), through a class        because I think we instead must focus on the UCL itself
action (see Timlick v. National Enterprise Systems, Inc.      that I concur in the disposition, and I agree with the
(2019) 35 Cal.App.5th 674, 689, 247 Cal. Rptr. 3d 575),       otherwise well reasoned opinion.
or by Federal Trade Commission enforcement actions
(15 U.S.C. § 1692l). A few debt collection violations can     RAPHAEL, J.
even be enforced through misdemeanor prosecutions
(see Civ. Code § 1788.16).
                                                                End of Document

If Persolve is correct to require us to focus on whether
the borrowed statute is more specific than the privilege,
I think we would be compelled to let this lawsuit proceed
to the extent it borrows section 6128, which is more
specific than the privilege.

But I am [*31] not persuaded that Persolve correctly
treats the UCL as an empty vessel for the "borrowed"
statute. Rather, it seems that we should focus on the
UCL itself, which is not narrower than the privilege and
thus not an exception to it.

First, in other contexts, our Supreme Court has
emphasized that the UCL is not "a mere enforcement
mechanism" but a substantive statute that "provides its
own distinct and limited equitable remedies for unlawful
business practices, using other laws only to define what
is 'unlawful.'" (Rose v. Bank of America, N.A. (2013) 57
Cal.4th 397; see also Stop Youth Addiction, Inc. v.
Lucky Stores, Inc. (1998) 17 Cal.4th 553, 566, 71 Cal.
Rptr. 2d 731, 950 P.2d 1086 [superseded by statute on
other grounds] ["SYA seeks relief from alleged unfair
competition, not to enforce the Penal Code."]) This
counsels for a focus on whether the UCL itself is
broader than the privilege, not on whether the borrowed
statute is. In practical terms as well, the UCL is not
merely a redundant way to enforce a borrowed statute,
because it allows civil plaintiffs (including class action
plaintiffs) to bring lawsuits to enforce criminal statutes.

Secondly, the UCL is not necessary to give meaning to
the statutes it borrows, at least when they can be
enforced directly. To harmonize section 6128 with the
section 47(b) privilege, the former has been construed
to be an exception [*32] to the latter when a district
